            Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 1 of 561




                                                                 REDACTED VERSION OF DOCUMENT(S)
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6    Attorneys for Plaintiffs
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8

9                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN JOSE DIVISION

11
      IN RE GOOGLE ASSISTANT PRIVACY                       Master Case No.: 5:19-cv-04286-BLF
12
      LITIGATION
                                                           DECLARATION OF MARGARET
13                                                         MACLEAN IN SUPPORT OF
      This Document Relates to:
14                                                         PLAINTIFFS’ MOTION FOR CLASS
      ALL ACTIONS                                          CERTIFICATION
15

16                                                          COMPLAINT FILED: July 25, 2019
                                                            Date: October 20, 2022
17                                                          Time: 9:00 a.m.
                                                            Dept.: Courtroom 3-5th Floor
18                                                          Judge: Honorable Beth Labson Freeman
19

20           1.      Pursuant to 28 U.S.C. § 1746, I, Margaret MacLean, submit this declaration in
     support of Plaintiffs’ Motion for Class Certification. I am an attorney admitted to practice law in
21

22   the State of New York and a partner at the law firm Lowey Dannenberg P.C.. I am admitted pro

23   hac vice in the above-referenced matter (the “Action”). I have personal knowledge of the facts set

     forth herein and, if called upon as a witness, I could and would testify competently under oath
24
25   thereto.

26           2.      Attached hereto as Exhibit 1 is a true and correct copy of a document produced by

27

28       DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                               CASE NO. 5:19-cv-04286-BLF
          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 2 of 561




1    Google bearing Bates numbers GOOG-ASST-00000035.

2          3.    Attached hereto as Exhibit 2 is a true and correct copy of a document produced by

3    Google bearing Bates numbers GOOG-ASST-00232470.

4          4.    Attached hereto as Exhibit 3 is a true and correct copy of a document produced by

5    Google bearing Bates numbers GOOG-ASST-03004766.

6          5.    Attached hereto as Exhibit 4 is a true and correct copy of a document produced by

7    Google bearing Bates numbers GOOG-ASST-00236429.

8          6.    Attached hereto as Exhibit 5 is a true and correct copy of a document produced by

9    Google bearing Bates numbers GOOG-ASST-00245866.

10         7.    Attached hereto as Exhibit 6 is a true and correct copy of a document produced by

11   Google bearing Bates numbers GOOG-ASST-00245987.

12         8.    Attached hereto as Exhibit 7 is a true and correct copy of a document produced by

13   Google bearing Bates numbers GOOG-ASST-00256229.

14         9.    Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

15   Google bearing Bates numbers GOOG-ASST-02981998.

16         10.   Attached hereto as Exhibit 9 is a true and correct copy of a document produced by

17   Google bearing Bates numbers GOOG-ASST-00221881.

18         11.   Attached hereto as Exhibit 10 is a true and correct copy of a document produced by

19   Google bearing Bates numbers GOOG-ASST-00001303.

20         12.   Attached hereto as Exhibit 11 is the Manual Filing Notification for a document

21   produced by Google bearing Bates numbers GOOG-ASST-00257457.

22         13.   Attached hereto as Exhibit 12 is a true and correct copy of a document produced by

23   Google bearing Bates numbers GOOG-ASST-00228874.

24         14.   Attached hereto as Exhibit 13 is a true and correct copy of a document produced by

25   Google bearing Bates numbers GOOG-ASST-03045622.

26         15.   Attached hereto as Exhibit 14 is a true and correct copy of a document produced by

27

28                                               2
        DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                              CASE NO. 5:19-cv-04286-BLF
          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 3 of 561




1    Google bearing Bates numbers GOOG-ASST-03045632.

2          16.   Attached hereto as Exhibit 15 is a true and correct copy of a document produced by

3    Google bearing Bates numbers GOOG-ASST-00233284.

4          17.   Attached hereto as Exhibit 16 is a true and correct copy of a document produced by

5    Google bearing Bates numbers GOOG-ASST-00244130.

6          18.   Attached hereto as Exhibit 17 is a true and correct copy of a document produced by

7    Google bearing Bates numbers GOOG-ASST-03026660.

8          19.   Attached hereto as Exhibit 18 is a true and correct copy of a document produced by

9    Google bearing Bates numbers GOOG-ASST-00231206.

10         20.   Attached hereto as Exhibit 19 is a true and correct copy of a document produced by

11   Google bearing Bates numbers GOOG-ASST-00003331.

12         21.   Attached hereto as Exhibit 20 is a true and correct copy of a document produced by

13   Google bearing Bates numbers GOOG-ASST-00031411.

14         22.   Attached hereto as Exhibit 21 is a true and correct copy of a document produced by

15   Google bearing Bates numbers GOOG-ASST-03026477.

16         23.   Attached hereto as Exhibit 22 is a true and correct copy of a document produced by

17   Google bearing Bates numbers GOOG-ASST-03026503.

18         24.   Attached hereto as Exhibit 23 is a true and correct copy of a document produced by

19   Google bearing Bates numbers GOOG-ASST-03026518.

20         25.   Attached hereto as Exhibit 24 is a true and correct copy of a document produced by

21   Google bearing Bates numbers GOOG-ASST-00003555.

22         26.   Attached hereto as Exhibit 25 is a true and correct copy of a document produced by

23   Google bearing Bates numbers GOOG-ASST-00000141.

24         27.   Attached hereto as Exhibit 26 is a true and correct copy of a document produced by

25   Google bearing Bates numbers GOOG-ASST-00000195.

26         28.   Attached hereto as Exhibit 27 is a true and correct copy of a compilation of Google

27

28                                                3
        DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                              CASE NO. 5:19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 4 of 561




1    Privacy Policies from 2016-2021.

2           29.    Attached hereto as Exhibit 28 is the Manual Filing Notification for a document

3    produced by Google bearing Bates numbers GOOG-ASST-03036619.

4           30.    Attached hereto as Exhibit 29 is the Manual Filing Notification for a document

5    produced by Google bearing Bates numbers GOOG-ASST-03026521.

6           31.    Attached hereto as Exhibit 30 is the Manual Filing Notification for a document

7    produced by Google bearing Bates numbers GOOG-ASST-03026522.

8           32.    Attached hereto as Exhibit 31 is the Manual Filing Notification for a document

9    produced by Google bearing Bates numbers GOOG-ASST-03034181.

10          33.    Attached hereto as Exhibit 32 is the Manual Filing Notification for a document

11   produced by Google bearing Bates numbers GOOG-ASST-03037485.

12          34.    Attached hereto as Exhibit 33 is a true and correct copy of a document produced by

13   Google bearing Bates numbers GOOG-ASST-00001403.

14          35.    Attached hereto as Exhibit 34 is a true and correct copy of a document produced by

15   Google bearing Bates numbers GOOG-ASST-00217138.

16          36.    Attached hereto as Exhibit 35 is a true and correct copy of a document produced by

17   Google bearing Bates numbers GOOG-ASST-03030779.

18          37.    Attached hereto as Exhibit 36 is a true and correct copy of a document produced by

19   Google bearing Bates numbers GOOG-ASST-00023627.

20          38.    Attached hereto as Exhibit 37 is the Manual Filing Notification for a document

21   produced by Google bearing Bates numbers GOOG-ASST-03030863.

22          39.    Attached hereto as Exhibit 38 is a true and correct copy of a document produced by

23   Google bearing Bates numbers GOOG-ASST-03030950.

24          40.    Attached hereto as Exhibit 39 is the Manual Filing Notification for a document

25   produced by Google bearing Bates numbers GOOG-ASST-00232904.

26          41.    Attached hereto as Exhibit 40 is a true and correct copy of a document produced by

27

28                                                 4
        DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                              CASE NO. 5:19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 5 of 561




1    Google bearing Bates numbers GOOG-ASST-00025679.

2           42.     Attached hereto as Exhibit 41 is a true and correct copy of a document produced by

3    Google bearing Bates numbers GOOG-ASST-00022753.

4           43.     Attached hereto as Exhibit 42 is a true and correct copy of a document produced by

5    Google bearing Bates numbers GOOG-ASST-00000044.

6           44.     Attached hereto as Exhibit 43 is a true and correct copy of a document produced by

7    Google bearing Bates numbers GOOG-ASST-00217177.

8           45.     Attached hereto as Exhibit 44 is a true and correct copy of a document produced by

9    Google bearing Bates numbers GOOG-ASST-02989251.

10          46.     Attached hereto as Exhibit 45 is a true and correct copy of a document produced by

11   Google bearing Bates numbers GOOG-ASST-00256167.

12          47.     Attached hereto as Exhibit 46 is a true and correct copy of a document produced by

13   Google bearing Bates numbers GOOG-ASST-00244117.

14          48.     Attached hereto as Exhibit 47 is a true and correct copy of Volume II excerpts of

15   the transcript of the April 22, 2022, deposition testimony of Defendant Google, given through its

16   designated corporate representative Francoise Beaufays.

17          49.     Attached hereto as Exhibit 48 is a true and correct copy of Volume I excerpts of the

18   deposition transcript of Francoise Beaufays, dated April 12, 2022.

19          50.     Attached hereto as Exhibit 49 is a true and correct copy of excerpts of the deposition

20   transcript of Alex Gruenstein, dated May 24, 2022.

21          51.     Attached hereto as Exhibit 50 is a true and correct copy of excerpts of the deposition

22   transcript of Bryan Horling, dated June 13, 2022.

23          52.     Attached hereto as Exhibit 51 is a true and correct copy of excerpts of the deposition

24   transcript of Caroline Kenny, dated April 14, 2022.

25          53.     Attached hereto as Exhibit 52 is a true and correct copy of excerpts of the deposition

26   transcript of Terry Tai, dated June 30, 2022.

27          54.     Attached hereto as Exhibit 53 is a true and correct copy of excerpts of the deposition

28                                                    5
         DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                               CASE NO. 5:19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 6 of 561




1    transcript of Mary Ioannidis, dated May 6, 2022.

2           55.    Attached hereto as Exhibit 54 is a true and correct copy of excerpts of the deposition

3    transcript of Nino Tasca, dated May 3, 2022.

4           56.    Attached hereto as Exhibit 55 is a true and correct copy of Lowey Dannenberg

5    P.C.’s Firm Resume.

6           57.    Attached hereto as Exhibit 56 is a true and correct copy of Scott+Scott Attorneys

7    at Law LLP’s Firm Resume.

8           58.    Attached hereto as Exhibit 57 is a true and correct copy of the Declaration of Dr.

9    Fernando Torres, MSc.

10          59.    Attached hereto as Exhibit 58 is a true and correct copy of the Dr. Rebbecca Reed-

11   Arthurs.

12          I declare under penalty of perjury under the laws of the United States of America that the

13   foregoing is true and correct and was executed on July 18, 2022, in New York, New York.

14
     Dated: July 18, 2022                           /s/ Margaret MacLean
15                                                  Margaret MacLean
16                                                  Vincent Briganti (pro hac vice)
                                                    Christian Levis (pro hac vice)
17                                                  Andrea Farah (pro hac vice)
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28                                                    6
         DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                               CASE NO. 5:19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 7 of 561




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11                                                 jjasnoch@scott-scott.com

12                                                 Attorneys for Plaintiffs
13

14

15
                                     CERTIFICATION OF SERVICE
16
            The undersigned counsel certifies that on this day the foregoing document was
17
     electronically filed with the Clerk of the Court using the CM/ECF system, which will automatically
18

19   send email notification to all counsel of record who have appeared in this matter.

20          So certified, this 18th day of July, 2022.

21

22
                                                   LEXINGTON LAW GROUP
23
                                                   /s/ Mark N. Todzo
24                                                 Mark N. Todzo
25

26

27

28                                                       7
         DECL. OF MARGARET MACLEAN ISO PLAINTIFFS’ MOT. FOR CLASS CERTIFICATION
                               CASE NO. 5:19-cv-04286-BLF
Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 8 of 561




                       EXHIBIT 1
Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 9 of 561
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                    Exhibits 2-10

 DOCUMENTS REDACTED IN
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Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 12 of 561




                        EXHIBIT 11
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 13 of 561




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     afarah@lowey.com
8
     Attorney for Plaintiffs
9

10   [Additional counsel on signature page.]

11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
      This Document Relates to:                              NOTIFICATION
16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

18

19

20

21
                                       MANUAL FILING NOTIFICATION
22

23   Regarding:     EXHIBIT 11 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

26
     This filing is in physical form only, and is being maintained in the case file in the Clerk’s office.
27

28
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 14 of 561




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1

2    retrieving this filing directly from the court, please see the court's main web site at

3    http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

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11   ___ Item Under Seal
12   ___ Conformance with the Judicial Conference Privacy Policy (General Order 53).
13
     ___ Other (description): Spreadsheet that is not readable once printed out.
14

15

16
     Dated: July 18, 2022                           /s/ Mark Todzo
17                                                  Mark N. Todzo (Bar No. 168389)
                                                    Eric S. Somers (Bar No. 139050)
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23                                                  Vincent Briganti (pro hac vice)
                                                    Christian Levis (pro hac vice)
24                                                  Margaret MacLean (pro hac vice)
                                                    Andrea Farah (pro hac vice)
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28
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
     Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 15 of 561




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                                   Attorneys for Plaintiffs
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        PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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                    Exhibits 12-16

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                        EXHIBIT 17
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 18 of 561




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2    Margaret MacLean (pro hac vice)
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     afarah@lowey.com
8
     Attorney for Plaintiffs
9

10   [Additional counsel on signature page.]

11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
      This Document Relates to:                              NOTIFICATION
16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

18

19

20

21
                                       MANUAL FILING NOTIFICATION
22

23   Regarding:     EXHIBIT 17 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

26
     This filing is in physical form only, and is being maintained in the case file in the Clerk’s office.
27

28
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
           Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 19 of 561




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2    retrieving this filing directly from the court, please see the court's main web site at

3    http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

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12   ___ Conformance with the Judicial Conference Privacy Policy (General Order 53).
13
     _X_ Other (description): Spreadsheet that is not readable once printed out.
14

15

16
     Dated: July 18, 2022                           /s/ Mark Todzo
17                                                  Mark N. Todzo (Bar No. 168389)
                                                    Eric S. Somers (Bar No. 139050)
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                                                    Christian Levis (pro hac vice)
24                                                  Margaret MacLean (pro hac vice)
                                                    Andrea Farah (pro hac vice)
25                                                  LOWEY DANNENBERG, P.C.
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                                                    White Plains, NY 10601
27                                                  Telephone: (914) 997-0500

28
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
     Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 20 of 561




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                                   Attorneys for Plaintiffs
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        PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 21 of 561




                    Exhibits 18-24

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Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 22 of 561




                        EXHIBIT 25
Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 23 of 561
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12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
      This Document Relates to:                              NOTIFICATION
16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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21
                                       MANUAL FILING NOTIFICATION
22

23   Regarding:     EXHIBIT 28 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

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          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 427 of 561




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     Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 428 of 561




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                        EXHIBIT 29
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11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
      This Document Relates to:                              NOTIFICATION
16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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23   Regarding:     EXHIBIT 29 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
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          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 431 of 561




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                        EXHIBIT 30
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11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
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16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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22

23
     Regarding:     EXHIBIT 30 to the DECLARATION OF MARGARET MACLEAN ISO
24
25   PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.

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     Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 436 of 561




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         PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 437 of 561




                        EXHIBIT 31
          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 438 of 561




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12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
      This Document Relates to:                              NOTIFICATION
16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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21
                                       MANUAL FILING NOTIFICATION
22

23   Regarding:     EXHIBIT 31 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
          Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 439 of 561




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11   ___ Item Under Seal
12   ___ Conformance with the Judicial Conference Privacy Policy (General Order 53).
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15

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     Dated: July 18, 2022                            /s/ Mark Todzo
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
     Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 440 of 561




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         PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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                        EXHIBIT 32
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10   [Additional counsel on signature page.]

11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
      LITIGATION
15                                                           PLAINTIFFS’ MANUAL FILING
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16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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21
                                       MANUAL FILING NOTIFICATION
22

23   Regarding:     EXHIBIT 32 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

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12   ___ Conformance with the Judicial Conference Privacy Policy (General Order 53).
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16
     Dated: July 18, 2022                           /s/ Mark Todzo
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         PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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                    Exhibits 33-36

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10   [Additional counsel on signature page.]

11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                         Case No.: 19-cv-04286-BLF
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                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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                                       MANUAL FILING NOTIFICATION
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23   Regarding:     EXHIBIT 37 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
25

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16
     Dated: July 18, 2022                           /s/ Mark Todzo
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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                        EXHIBIT 38
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11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
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16
                                                             Judge: Hon. Beth L. Freeman
17    ALL ACTIONS

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23   Regarding:     EXHIBIT 38 to the DECLARATION OF MARGARET MACLEAN ISO
24
     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION, filed conditionally under seal.
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16
     Dated: July 18, 2022                           /s/ Mark Todzo
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                PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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         PLAINTIFFS’ MANUAL FILING NOTIFICATION CASE NO. 19-cv-04286-BLF
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Firm Resume
Lowey Dannenberg General Firm Resume - 06-20-22




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﻿            Case 5:19-cv-04286-BLF Document 222-2 Filed 07/18/22 Page 463 of 561


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10   Deceptive Marketing Claims
11   Class Action Defense/Lien Recovery Cases




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Firm Overview

Since the firm’s founding by Stephen Lowey in the 1960s, Lowey Dannenberg, P.C. (“Lowey Dannenberg”) has
represented sophisticated clients in complex federal antitrust, commodities, and securities litigation. Lowey Dannenberg
also regularly represents some of the world’s largest health insurers in healthcare cost recovery actions.

Lowey Dannenberg has recovered billions of dollars for its clients and the classes they represent. Those clients include
some of the nation’s largest pension funds, e.g., the California State Teachers’ Retirement System (“CalSTRS”), the
Treasurer of the Commonwealth of Pennsylvania and the Pennsylvania Treasury Department, the New York State
Common Retirement Fund, and the New York City Pension Funds; sophisticated institutional investors, including
Federated Investors, which manages more than $600 billion in assets; and Fortune 100 companies like Aetna, Anthem,
CIGNA, Humana, and Verizon.

Aetna and Humana have publicly lauded Lowey in Corporate Counsel Magazine as their “Go To” outside counsel
because of the firm’s years of service to Fortune 100 health insurers in opt-out litigation involving state and
federal fraud claims.




Firm Resume                                                                                                                1
AntitrustCase   5:19-cv-04286-BLF
         Class Actions                         Document 222-2 Filed 07/18/22 Page 465 of 561


Antitrust Class Actions
Lowey Dannenberg regularly serves as court appointed lead or co-lead counsel on some of the
most important and complex antitrust class actions against some of the world’s largest corporations,
financial institutions, and producers. The firm has more than 40 attorneys who specialize in
prosecuting these cases, including the following representative matters.


   The Court itself had occasion to notice the high quality of [Lowey Dannenberg’s] work, both in briefs and oral argument.
   Moreover, counsels’ achievement in obtaining valuable recompense and forward-looking protections for its clients is
   particularly noteworthy given the caliber and vigor of its adversaries.
                                                    Judge Jed Rakoff, In re GSE Bonds Antitrust Litigation, No. 19-CV-1704 (S.D.N.Y.)




In re GSE Bonds Antitrust Litigation                               In re European Government Bonds Antitrust Litigation

Lowey Dannenberg served as Court-appointed Co-Lead                 Lowey Dannenberg serves as court-appointed co-lead
Counsel in an antitrust class action alleging that several of      counsel in In re European Government Bonds Antitrust
the world’s largest banks and brokers conspired to fix the         Litigation, Case No. 19-cv-2601 (VM) (S.D.N.Y.). The case
prices of debt securities issued by government sponsored           is currently pending before Judge Victor Marrero in the
entities (e.g., Fannie Mae, Freddie Mac, Federal Farm              Southern District of New York, and involves alleged price-
Credit Banks, and Federal Home Loan Banks) between                 fixing by dealers responsible for bringing bonds issued by
2009 and 2016. In re GSE Bonds Antitrust Litigation,               Eurozone member countries to the secondary market. On
No. 19-cv-1704 (S.D.N.Y.) (Rakoff, J.).                            July 23, 2020, Judge Marrero sustained antitrust claims
                                                                   against three dealers and allowed Plaintiffs to seek leave
On June 16, 2020, Judge Jed S. Rakoff finally approved
                                                                   to replead their claims against the remaining defendants.
settlements with all defendants totaling more than $386
                                                                   In re European Gov’t Bonds Antitrust Litig., No. 19-cv-2601
million. Judge Rakoff praised “the high quality of [Lowey’s]
                                                                   (VM), 2020 WL 4273811 (S.D.N.Y. July 23, 2020).
work, both in briefs and oral argument,” and Lowey’s
achievement in “obtaining valuable recompense and
forward-looking protections for its clients” in the face of        In re Mexican Government Bonds Antitrust Litigation
vigorous opposition from adversaries of the highest caliber.
                                                                   Lowey Dannenberg serves as Court-appointed sole
See In re GSE Bonds Antitrust Litig., No. 19-CV-1704 (JSR),
                                                                   Lead Counsel in a class action against 10 global financial
2020 WL 3250593 (S.D.N.Y. June 16, 2020). Notably,
                                                                   institutions that allegedly violated the Sherman Act by
in addition to the substantial financial recovery in the
                                                                   colluding to fix the prices of debt securities issued by the
case, Lowey worked closely with its client, the Treasurer
                                                                   Mexican Government between 2006 and 2016. Plaintiffs
of the Commonwealth of Pennsylvania, to curb future
                                                                   are eight institutional investors that transacted in Mexican
misconduct and successfully negotiated settlement
                                                                   government debt, including directly with Defendants.
provisions that required each defendant to maintain or
                                                                   The case is pending before Judge J. Paul Oetken in the
create a compliance program designed prevent and detect
                                                                   Southern District of New York. On October 28, 2021,
future anticompetitive conduct in the GSE Bond Market.
                                                                   Judge Oetken granted final approval of a settlement with
                                                                   Defendants JPMorgan Chase and Barclays PLC for $20.7
                                                                   million. In re Mexican Government Bonds Antitrust Litigation,
                                                                   1:18-cv-02830 (S.D.N.Y).




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Sullivan, et al. v. Barclays plc, et al. (Euribor)              Lowey Dannenberg has thus far recovered $307 million
                                                                for the Settlement Class and received substantial
Lowey Dannenberg is co-lead counsel prosecuting claims
                                                                cooperation from settling defendants that it is using
against international financial institutions responsible
                                                                in the actions against the remaining defendants. In
for setting the Euro Interbank Offered Rate (“Euribor”),
                                                                2016, Judge Daniels granted final approval of a $35
a global reference rate used to benchmark, price and settle
                                                                million settlement with HSBC Holdings plc and HSBC
over $200 trillion of financial products. Co-Lead Plaintiffs
                                                                Bank plc, a $23 million settlement with Citigroup, Inc.
include the California State Teachers’ Retirement System
                                                                and several Citi entities, and a cooperation settlement
(“CalSTRS”). So far, Lowey Dannenberg has recovered
                                                                with R.P. Martin. In 2017, Judge Daniels granted final
a total of $546.5 million for Euribor-based derivatives
                                                                approval of a $77 million settlement with Deutsche Bank
investors, which includes (1) a $94 million settlement with
                                                                AG and DB Group Services (UK) Ltd. and a $71 million
Barclays plc and related Barclays entities; (2) a $45 million
                                                                settlement with JPMorgan Chase & Co. and related
settlement with Defendants HSBC Holdings plc and HSBC
                                                                entities. On July 12, 2018, Judge Daniels granted final
Bank plc; (3) a $170 million settlement with Defendants
                                                                approval of a $30 million settlement with the The Bank
Deutsche Bank AG and DB Group Services (UK) Ltd.; (4)
                                                                of Tokyo-Mitsubishi UFJ, Ltd. and Mitsubishi UFJ Trust
a $182.5 million settlement with Defendants Citigroup
                                                                and Banking Corporation. In December 2019, the court
Inc., Citibank, N.A., JPMorgan Chase & Co. and JPMorgan
                                                                finally approved two sets of settlements, one with Bank of
Chase Bank, N.A.; and (5) a $55 million settlement with
                                                                Yokohama, Ltd., Shinkin Central Bank, The Shoko Chukin
Credit Agricole.
                                                                Bank, Ltd., Sumitomo Mitsui Trust Bank, Ltd. and Resona
The claims against the remaining defendants in the case         Bank, Ltd. for $31.75 million, and the second with Mizuho
are presently on appeal before the United States Court of       Bank, Ltd., Mizuho Corporate Bank, Ltd., and Mizuho
Appeals, Second Circuit.                                        Trust & Banking Co., Ltd., The Norinchukin Bank, and
                                                                Sumitomo Mitsui Banking Corporation for $39.25 million.

Laydon v. Mizuho Bank, Ltd., et al.; Sonterra
Capital Master Fund Ltd., et al. v. UBS AG,                     In re London Silver Fixing Ltd., Antitrust Litig.
et al. (Yen-LIBOR and Euroyen TIBOR)
                                                                Lowey Dannenberg is serving as co-lead counsel on
Lowey Dannenberg is sole lead counsel prosecuting               behalf of a class of silver investors, including Commodity
claims against international financial institutions             Exchange Inc. (“COMEX”) silver futures contracts
responsible for the intentional and systematic                  traders, against banks that allegedly colluded to fix the
manipulation of the London Interbank Offered Rate               London Silver Fix, a global benchmark that impacts the
(“LIBOR”) for the Japanese Yen and Euroyen TIBOR                value of more than $30 billion in silver and silver-based
(the Tokyo Interbank Offered Rate). The firm represents         financial instruments. Judge Valerie E. Caproni sustained
clients in two actions relating to manipulation of products     Sherman Antitrust Act and CEA claims alleged in Lowey
price-based on these benchmarks (“Euroyen-based                 Dannenberg’s complaint, which relied predominately
derivatives”): Laydon v. Mizuho Bank, Ltd. et al., 12-cv-       on sophisticated econometric analysis that Lowey
03419 (S.D.N.Y.) (Daniels, J.) (involving exchange based        Dannenberg developed in conjunction with a team of
Euroyen-based derivatives) and Sonterra Capital Master          leading financial markets experts. See In re London Silver
Fund, Ltd. et al. v. UBS AG et al., 15-cv-5844 (Daniels, J.)    Fixing Ltd., Antitrust Litig., No. 14-md-2573, 2016 WL
(involving over-the-counter Euroyen-based derivatives).         5794777 (S.D.N.Y. Oct. 3, 2016). In appointing Lowey
Co-Lead Plaintiffs in the Sonterra matter include CalSTRS.      Dannenberg, the Court praised Lowey Dannenberg’s
In the Sonterra action, Lowey Dannenberg recently               experience, approach to developing the complaint,
prevailed on its appeal before the United States Court of       attention to detail, and the expert resources that the firm
Appeals, Second Circuit, which reversed the lower court’s       brought to bear on behalf of the class. See In re London
dismissal of the case. Sonterra Capital Master Fund Ltd. v.     Silver Fixing Ltd., Antitrust Litig., Case No. 14-md-2573
UBS AG, 954 F.3d 529 (2d Cir. 2020).                            (VEC), ECF No. 17 (Nov. 25, 2014 S.D.N.Y.) (Caproni,
                                                                J.). On June 15, 2021, Judge Caproni granted final




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approval of a $38 million settlement with Deutsche Bank            Dennis, et al. v. JPMorgan Chase & Co., et al.
AG and several of its subsidiaries. See Final Approval
                                                                   Lowey Dannenberg is co-lead counsel in an antitrust
Order of Settlement with Deutsche Bank AG, Deutsche
                                                                   class action against numerous global financial institutions
Bank Americas Holding Corporation, DB U.S. Financial
                                                                   responsible for setting the Australian Bank Bill Swap
Markets Holding Corporation, Deutsche Bank Securities,
                                                                   Reference Rate (“BBSW”), pending before Judge Lewis
Inc., Deutsche Bank Trust Corporation, Deutsche Bank
                                                                   A. Kaplan in the Southern District of New York. Dennis, et
Trust Company Americas, and Deutsche Bank AG New
                                                                   al. v. JPMorgan Chase & Co., et al., No. 16-cv-6496 (LAK)
York Branch, In re London Silver Fixing, Ltd., Antitrust Litig.,
                                                                   (S.D.N.Y.). The case alleges that the defendants engaged
No. 14-md-2573 (S.D.N.Y. Jun. 15, 2021), ECF No. 536.
                                                                   in uneconomic transactions in Prime Bank Bills, a type
The case is ongoing against the remaining defendants.
                                                                   of short-term debt instrument, to manipulate BBSW. In
                                                                   addition to prevailing against most of the defendants on
Sonterra Capital Master Fund Ltd. v.                               their motions to dismiss, (see Dennis v. JPMorgan Chase &
Credit Suisse Group AG et al.                                      Co., 343 F. Supp. 3d 122 (S.D.N.Y. 2018), adhered to on
                                                                   denial of reconsideration, No. 16-CV-6496 (LAK), 2018
Lowey Dannenberg is court-appointed sole lead counsel
                                                                   WL 6985207 (S.D.N.Y. Dec. 20, 2018); Dennis v. JPMorgan
in a class action against numerous global financial
                                                                   Chase & Co., 439 F. Supp. 3d 256 (S.D.N.Y. 2020)), To date,
institutions responsible for setting the London Interbank
                                                                   Lowey Dannenberg has reached settlements totaling
Offered Rate for the Swiss Franc (Swiss Franc LIBOR).
                                                                   more than $185 million for the benefit of the Settlement
Defendants settled with global regulators, paid billions
                                                                   Class, plus substantial additional consideration in the form
in fines, and/or were granted leniency by the European
                                                                   of settlement cooperation.
Commission for alleged anti-competitive conduct in the
Swiss Franc LIBOR and Swiss Franc LIBOR derivatives
market. On September 21, 2021, the Second Circuit
Court of Appeals vacated dismissal and remanded the
case to Judge Stein, where it remains pending. Sonterra
Capital Master Fund Ltd. v. Credit Suisse Group AG, et al.,
Case No. 15-cv-0871 (S.D.N.Y.).


FrontPoint Asian Event Driven Fund, L P. v.
Citibank, N.A., et al.

Lowey Dannenberg filed a proposed class action in July
2016 alleging that the 20 global financial institutions
responsible for setting the Singapore Interbank Offered
Rate (“SIBOR”) and the Singapore Swap Offer Rate
(“SOR”) manipulated these benchmark rates to benefit
their own derivatives positions at the expense of
U.S. investors. The Monetary Authority of Singapore
investigated these banks and found that traders
manipulated SIBOR and SOR, imposing sanctions and
other remedial measures. On March 17, 2021, the
Second Circuit Court of Appeals vacated dismissal and
remanded the case to Judge Hellerstein. FrontPoint
Asian Event Driven Fund, L.P. v. Citibank, N.A., et al., 16-cv-
5263 (S.D.N.Y.). Lowey negotiated settlements with all
defendants to globally resolve the action for a total of
$155,458,000. Judge Hellerstein preliminarily approved
all settlements on June 9, 2022.




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Commodities Litigation
Lowey Dannenberg has successfully prosecuted the most important and complex commodity
manipulation actions since the enactment of the Commodity Exchange Act (“CEA”).
As court‑appointed lead counsel, Lowey Dannenberg has a history of successfully certifying
classes of investors harmed by market manipulation schemes.




Sumitomo                                                        In re Natural Gas

In In re Sumitomo Copper Litigation (“Sumitomo”), Master        Lowey Dannenberg served as co-lead counsel in
File No. 96 CV 4854 (S.D.N.Y.) (Pollack, J.), Lowey             In re Natural Gas Commodity Litigation, Case No. 03
Dannenberg was appointed as one of three executive              CV 6186 (VM) (S.D.N.Y.) (“In re Natural Gas”), which
committee members. Stipulation and Pretrial Order No.           involved manipulation of the price of natural gas futures
1, dated October 28, 1996, at ¶ 13. Plaintiffs’ counsel’s       contracts traded on the NYMEX by more than 20 large
efforts in Sumitomo resulted in a settlement on behalf          energy companies.
of the certified class of more than $149 million, which
                                                                Plaintiffs alleged that Defendants, including El Paso,
represented the largest class action recovery in the
                                                                Duke, Reliant, and AEP Energy Services, Inc., manipulated
history of the CEA at the time. In re Sumitomo Copper Litig.,
                                                                the prices of NYMEX natural gas futures contracts by
182 F.R.D. 85, 95 (S.D.N.Y. 1998). One of the most able
                                                                making false reports of the price and volume of their
and experienced United States District Court judges in
                                                                trades to publishers of natural gas price indices across the
the history of the federal judiciary, the Honorable Milton
                                                                United States, including Platts. Lowey Dannenberg won
Pollack, took note of counsel’s skill and sophistication:
                                                                significant victories throughout the litigation, including:

                                                                > defeating Defendants’ motions to dismiss (In re Natural
   The unprecedented effort of Counsel exhibited in this
                                                                  Gas, 337 F. Supp. 2d498 (S.D.N.Y. 2004));
   case led to their successful settlement efforts and its
   vast results. Settlement posed a saga in and of itself       > prevailing on a motion to enforce subpoenas issued
   and required enormous time, skill and persistence.             to two publishers of natural gas price indices for the
   Much of that phase of the case came within the                 production of trade report data (In re Natural Gas, 235
   direct knowledge and appreciation of the Court itself.         F.R.D. 199 (S.D.N.Y. 2005)); and
   Suffice it to say, the Plaintiffs’ counsel did not have
                                                                > successfully certifying a class of NYMEX natural gas
   an easy path and their services in this regard are
                                                                  futures traders who were harmed by defendants’
   best measured in the enormous recoveries that were
                                                                  manipulation of the price of natural gas futures
   achieved under trying circumstances in the face of
                                                                  contracts traded on the NYMEX from January 1,
   natural, virtually overwhelming, resistance.
                                                                  2000 to December 31, 2002. In re Natural Gas, 231
                                                                  F.R.D. 171, 179 (S.D.N.Y. 2005), petition for review
In re Sumitomo Copper Litig., 74 F. Supp. 2d 393, 396             denied, Cornerstone Propane Partners, LP, et al. v. Reliant
(S.D.N.Y. 1999).                                                  Energy Services, Inc., et al., Docket No. 05-5732 (2d Cir.
                                                                  August 1, 2006).

                                                                The total settlement obtained in this complex
                                                                litigation—$101 million—was at the time, the third largest
                                                                recovery in the history of the CEA.




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Amaranth                                                      Pacific Inv. Mgmt. Co. (“PIMCO”)

Lowey Dannenberg served as co-lead counsel in In re           Lowey Dannenberg served as counsel to certified class
Amaranth Natural Gas Commodities Litigation, Master File      representative Richard Hershey in a class action alleging
No. 07 Civ. 6377 (S.D.N.Y) (SAS) (“Amaranth”), a certified    manipulation by PIMCO of the multi-billion-dollar market
CEA class action alleging manipulation of NYMEX natural       of U.S. 10-Year Treasury Note futures contracts traded
gas futures contract prices in 2006 by Amaranth LLC, one      on the Chicago Board of Trade (“CBOT”). Hershey v. Pacific
of the country’s largest hedge funds prior to its widely-     Inv. Management Co. LLC, 571 F.3d 672 (7th Cir. 2009). The
publicized multi-billion dollar collapse in September 2006.   case settled in 2011 for $118.75 million, the second largest
Significant victories Lowey Dannenberg achieved in the        recovery in the history of the CEA at that time.
Amaranth litigation include:

> On April 27, 2009, Plaintiffs’ claims for primary           Optiver
  violations and aiding-and-abetting violations of the
                                                              Lowey Dannenberg acted as co-lead counsel in a
  CEA against Amaranth LLC and other Amaranth
                                                              proposed class action alleging that Optiver US, LLC and
  defendants were sustained. Amaranth, 612 F. Supp. 2d
                                                              other Optiver defendants manipulated NYMEX light
  376 (S.D.N.Y. 2009).
                                                              sweet crude oil, heating oil, and gasoline futures contracts
> On April 30, 2010, the Court granted Plaintiffs’ motion     prices in violation of the Sherman Antitrust Act and CEA.
  for pre-judgment attachment pursuant to Rule 64 of          In re Optiver Commodities Litigation, Case No. 08 CV 6842
  the Federal Rules of Civil Procedure and Section 6201       (S.D.N.Y.) (LAP), Pretrial Order No. 1, dated February
  of the New York Civil Practice Law and Rules against        11, 2009. The Honorable Loretta A. Preska of the
  Amaranth LLC, a Cayman Islands company and the              Southern District of New York granted final approval of a
  “Master Fund” in the Amaranth master-feeder-fund            $16.75 million settlement in June 2015.
  hedge fund family. Amaranth, 711 F. Supp. 2d 301
  (S.D.N.Y. 2010).
                                                              White v. Moore Capital Management, L.P.
> On September 27, 2010, the Court granted Plaintiffs’
                                                              Lowey Dannenberg acted as counsel to a class
  motion for class certification. Amaranth, 269 F.R.D. 366
                                                              representative in an action alleging manipulation of
  (S.D.N.Y. 2010). In appointing Lowey Dannenberg as
                                                              NYMEX palladium and platinum futures prices in 2007
  co- lead counsel for plaintiffs and the Class, the Court
                                                              and 2008 in violations of the Sherman Antitrust Act,
  specifically noted “the impressive resume” of Lowey
                                                              CEA, and RICO. White v. Moore Capital Management, L.P.,
  Dannenberg and that “Plaintiffs’ counsel has vigorously
                                                              Case No. 10 CV 3634 (S.D.N.Y.) (Pauley, J.). Judge William
  represented the interests of the class throughout this
                                                              H. Pauley III granted final approval of a settlement in the
  litigation.” On December 30, 2010, the Second Circuit
                                                              amount of $70 million in 2015.
  Court of Appeals denied Amaranth’s petition for
  appellate review of the class certification decision.
                                                              In re Crude Oil Commodity Futures Litigation
> On April 11, 2012, the Court entered a final order
  and judgment approving the $77.1 million settlement         Lowey Dannenberg served as counsel to a class
  reached in the action. The $77.1 million settlement is      representative and large crude oil trader in a Sherman
  more than ten times greater than the $7.5 million joint     Antitrust Act class action involving the alleged
  settlement achieved by the Federal Energy Regulatory        manipulation of NYMEX crude oil futures and options
  Commission (“FERC”) and the Commodity Futures               contracts. In re Crude Oil Commodity Futures Litigation,
  Trading Commission (“CFTC”) against Amaranth                Case No. 11-cv-03600 (S.D.N.Y.) (Forrest, J.). The Court
  Advisors LLC and at that time, represented the              granted final approval to a $16.5 million settlement in
  fourth largest class action recovery in the 85-plus year    January 2016.
  history of the CEA.




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Kraft Wheat Manipulation                                          Lansing Wheat Manipulation

Lowey Dannenberg serves as court-appointed co-lead                Lowey Dannenberg is serving as co-lead counsel for
counsel for a class of wheat futures and options traders          a class of wheat futures and options traders pursuing
pursuing claims against Kraft Foods Group, Inc. and               claims against Lansing Trade Group, LLC and Cascade
Mondelez Global LLC (collectively, “Kraft”), alleging             Commodity Consulting, LLC, alleging they manipulated
Kraft manipulated the prices of Chicago Board of Trade            the prices of Chicago Board of Trade wheat futures and
wheat futures and options contracts. On June 27, 2016,            options contracts in 2015. See Budicak, et al. v. Lansing
Judge Edmond E. Chang denied Kraft’s motion to dismiss            Trade Group, LLC, et al., No. 19 CV 2499 (JAR) (D. Kan.).
Plaintiffs’ CEA, Sherman Act and common law unjust                On April 29, 2022, Plaintiffs filed a motion for preliminary
enrichment claims relating to Kraft’s alleged “long wheat         approval of an $18 million settlement. Budicak, Inc. v.
futures scheme.” See Ploss v. Kraft Foods Grp., Inc., 197 F.      Lansing Trade Grp., LLC, No. 2:19-CV-2449-JAR-ADM,
Supp. 3d 1037 (N.D. Ill. 2016). On January 3, 2020, Judge         2020 WL 2892860 (D. Kan. Mar. 25, 2020).
Chang certified a class of wheat futures and options traders
to bring the claims in the case. See Ploss v. Kraft Foods Grp.,
Inc., 431 F. Supp. 3d 1003 (N.D. Ill. 2020). Kraft filed a        The Andersons Wheat Manipulation
petition to the United States Court of Appeals for the            Lowey Dannenberg is leading the prosecution of claims
Seventh Circuit, seeking permission to immediately appeal         on behalf of a class of wheat futures and options traders
Judge Chang’s certification of the class, which was denied        against The Andersons, Inc. for alleged manipulation
on February 21, 2020. The case is currently pending before        of the wheat futures and options market in the fourth
Judge John F. Kness in the Northern District of Illinois.         quarter of 2017. On July 9, 2021 and May 3, 2022,
                                                                  respectively, the Court denied Defendants’ motions to
                                                                  dismiss in their entirety. Dennis v. The Andersons Inc.,
                                                                  Case No. 20-cv-04090 (N.D. Ill.).




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SPOOFING LITIGATION
Lowey Dannenberg continues to innovate and is at the forefront of litigation under the CEA arising from claims of
market participants spoofing various futures markets.


In re JPMorgan Precious Metals Spoofing Litigation            Deutsche Treasury and Eurodollar Spoofing

Lowey Dannenberg serves as Court-appointed sole               On September 1, 2020, Lowey Dannenberg was
Lead Counsel in a commodities manipulation class              appointed Interim Co-Lead Counsel in a commodities
action against JPMorgan and several of its traders,           manipulation class action against Deutsche Bank,
alleging spoofing in the market for precious metals           alleging manipulation in the market for U.S. Treasury and
futures and options between 2009 and 2015. On                 Eurodollar futures and options throughout 2013. The
December 20, 2021, Judge Gregory H. Woods granted             case is pending before Judge Joan B. Gottschall in the
preliminary approval of a $60 million settlement with         Northern District of Illinois, Rock Capital Markets, LLC v.
Defendant JPMorgan. In re JPMorgan Precious Metals            Deutsche Bank Securities Inc., No. 20-CV-3638.
Spoofing Litigation, No. 18-CV-10356 (S.D.N.Y.).

                                                              In re NatWest Treasury Futures Spoofing Litigation
Boutchard, et al. v. Gandhi, et al. —
                                                              On March 8, 2022, Lowey Dannenberg was appointed
E-mini Index Futures Spoofing
                                                              Interim Co-Lead Counsel in a commodities manipulation
Lowey Dannenberg is prosecuting claims on behalf of a         class action against NatWest, alleging manipulation in
class of investors that transacted E-mini Index Futures       the market for U.S. Treasury futures and options from at
(e.g., Dow, S&P, Nasdaq) and options against Tower            least January 1, 2008 through May 31, 2014. The case
Research Capital LLC and several of its traders for alleged   is pending before The Honorable John F. Kness in the
spoofing violations between 2012 and 2014. On July 30,        Northern District of Illinois, In re NatWest Treasury Futures
2021, Judge John J. Tharp, Jr. granted final approval of a    Spoofing Litigation, No. 21-CV-6816.
$15 million settlement with Tower. Boutchard v. Gandhi et
al, No. 18-CV-07041 (N.D. Ill).


JPMorgan Treasuries Spoofing

On October 9, 2020, the Court appointed Lowey
Dannenberg to serve as Interim Co-Lead Counsel in a
commodities manipulation class action against JPMorgan,
alleging manipulation in the market for U.S. Treasuries
futures and options between 2009 and the present. On
December 9, 2021, Judge Paul A. Engelmayer granted
preliminary approval of a $15.7 million settlement with
Defendant JPMorgan. In re JPMorgan Treasuries Spoofing,
No. 20-CV-5360 (S.D.N.Y.)




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Healthcare: Prescription Overcharge Antitrust Litigation
Lowey Dannenberg is the nation’s premier pharmaceutical recovery law firm. It is known in the
healthcare industry for its market-leading initiatives, depth of experience, and consistent results.
The Firm’s advice is valued by the largest health benefits companies in the United States, including
Aetna CVS, Anthem, the Blue Cross and Blue Shield Association, Cigna, HCSC, Humana, and
numerous other companies. Lowey Dannenberg’s expertise was highlighted when Aetna and Humana
each identified Lowey as a “Go-to Law Firm” for litigation services Corporate Counsel magazine’s
“In House Law Departments at the Top 500 Companies.”


Health insurers routinely turn to Lowey Dannenberg for          sued Warner Lambert and Pfizer for alleged
its industry expertise, particularly in the areas of:           misrepresentations about the qualities of their
                                                                antidiabetic medication, Rezulin, injuring LABCBS in
> Defective Drugs and Products – Litigating on behalf of
                                                                excessive purchases of the drug. Lowey successfully
  insurers to recover overpayments for defective drugs
                                                                argued to reverse dismissal of LABCBS’ class action
  and medical products, including those manufactured in
                                                                in a precedent-setting appeal to the Second Circuit.
  violation of FDA standards
                                                                This case established the direct rights (as contrasted
> Prescription Drug and Device Price Manipulation –             with derivative, and more limited, subrogation
  Recovering overcharges from prescription drug and             rights) of third-party payers to sue pharmaceutical
  medical device price manipulation, including “generic         manufacturers for drug overcharges for defective
  delay” cases, price fixing, and “off-label” marketing         drugs. Desiano v. Warner-Lambert Co., 326 F.3d 339
                                                                (2d Cir. 2003).
> Lien Recovery – Prosecuting and negotiating medical
  lien reimbursements in mass tort litigation
                                                              “Pay-for-Delay” Antitrust Claims
> Class Action Defense – Representing health insurers
  facing class actions in state and federal courts            > Aggrenox Generic Delay Litigation: Lowey
                                                                Dannenberg represented Humana and 10 other
                                                                health insurers in a generic delay antitrust case against
Drugs Failing to Meet FDA’s Manufacturing Standards
                                                                defendant Boehringer Ingelheim Pharmaceuticals,
> Blue Cross Blue Shield Ass’n, et al. v. GlaxoSmithKline       Inc., the Aggrenox brand manufacturer, and generic
  LLC. Lowey Dannenberg and its co-counsel                      manufacturer Barr Pharmaceuticals Inc. (later acquired
  represented 39 health insurers (accounting for 60%            by Teva Pharmaceuticals), before Judge Stefan R.
  of the U.S. market for non-governmental health                Underhill in the District of Connecticut in connection
  insurance) in a novel recovery action seeking billions in     with their antitrust claims. Class actions on behalf of
  damages against British drug maker GlaxoSmithKline            direct purchasers reached a $146 million settlement
  for selling prescription drugs manufactured under             and indirect purchasers reached a $54 million
  conditions that amounted to egregious violations of           settlement. The litigation asserted claims under state
  federal standards. After defeating summary judgment           antitrust law, claiming a $100 million co-promotion
  (Blue Cross Blue Shield Ass’n v. GlaxoSmithKline LLC,         agreement was a disguised pay-for-delay, and as a
  417 F. Supp. 3d 531 (E.D. Pa. 2019)), the parties             result, insurers overpaid for Aggrenox. Lowey achieved
  confidentially settled on the literal eve of trial.           confidential settlements on behalf of Humana and
                                                                several other health insurers who opted-out of the
> Rezulin Litigation. Lowey Dannenberg, representing
                                                                class to separately litigate their claims. Humana Inc.
  a class of endpayers, made law that has influenced
                                                                v. Boehringer Ingelheim Pharma GmbH & Co. KG, et al.,
  every third party payer prescription drug case
                                                                No. 3:14-cv- 00572 (D. Conn.).
  since. Louisiana BlueCross BlueShield (“LABCBS”),




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> Lidoderm Generic Delay Litigation: Lowey                      Deceptive Marketing Claims
  Dannenberg represented 21 health insurers in
                                                                > In re Neurontin Marketing and Sales Practices Litig.
  connection with their antitrust claims against sellers of
                                                                  Lowey represented Aetna in an individual action
  branded and generic Lidoderm. Government Employees
                                                                  seeking recovery against Pfizer for its off-label
  Health Association v. Endo Pharmaceuticals, Inc., et al.,
                                                                  marketing of Neurontin and served as class counsel
  No. 3:14-cv-02180-WHO (N.D. Cal.).
                                                                  on the Plaintiffs’ Steering Committee. The firm
> Hytrin Generic Delay Litigation: Lowey Dannenberg               secured the first-ever verdict in history against a
  represented a class of health insurers asserting                pharmaceutical manufacturer finding it engaged
  antitrust claims against Abbott Laboratories and                in a RICO enterprise by fraudulently marketing its
  Geneva Pharmaceuticals, sellers of branded and                  drug, resulting in a $142 million trebled award. This
  generic Hytrin, and ultimately settled the case for             pivotal decision reversed a negative trend in off-
  $28.7 million. In re Terazosin Hydrochloride Antitrust          label drug marketing cases. The Court’s conclusion
  Litig., No. 1:99-MD-01317 (S.D. Fl.).                           that “Aetna’s economic injury was a foreseeable and
                                                                  natural consequence” of Pfizer’s scheme represents a
> Cardizem CD Generic Delay Litigation: In 1998,
                                                                  common-sense application of the law to the economic
  Lowey Dannenberg filed the first-ever generic delay
                                                                  realities of the prescription drug market.
  class action antitrust cases for endpayers (a term
  reflecting consumers and health insurers). Those cases          Lowey later argued and won a landmark RICO decision
  were centralized by the Judicial Panel on Multidistrict         in the United States Court of Appeals for the First
  Litigation (“JPML”) under the caption In re Cardizem CD         Circuit, holding drug manufacturers accountable to
  Antitrust Litigation, MDL No. 1278 (E.D. Mich.). After          health insurers for damages attributable to marketing
  the court certified a class (200 F.R.D. 326 (E.D. Mich.         fraud. In re Neurontin Mktg. & Sales Practices Litig.,
  2001)) and affirmed partial summary judgment for                712 F.3d 51 (1st Cir. 2013).
  plaintiffs (332 F.3d 896 (6th Cir. 2003)), the case was
                                                                > Warfarin Sodium Antitrust Litig. Lowey Dannenberg
  settled for $80 million.
                                                                  represented health insurers asserting antitrust
> Federal Trade Commission v. Actavis, 570 U.S. 756               and unfair trade practices claims against DuPont
  (2013). America’s Health Insurance Plans (AHIP), the            Pharmaceuticals Company. In re Warfarin Sodium
  national trade association representing health insurers,        Antitrust Litigation, 391 F.3d 516 (3rd Cir. 2004).
  retained Lowey Dannenberg to represent it before
  the United States Supreme Court as amicus curiae in a
  seminal “pay-for-delay” pharmaceutical case. Federal
  Trade Commission v. Actavis, 570 U.S. 756 (2013).


Price Fixing of Pharmaceutical Drugs

> Generic Pharmaceuticals Price Fixing. Lowey
  Dannenberg represents 39 of the nation’s largest
  health insurers, including Anthem, Aetna, Humana,
  and 23 BlueCross BlueShield licensees in connection
  with their claims relating to widespread price-fixing of
  generic pharmaceutical products. Lowey Dannenberg’s
  clients collectively purchased billions of dollars of these
  drugs during the alleged price-fixing conspiracies.
  Some of this litigation has been centralized before
  the Honorable Cynthia M. Rufe in In re Generic
  Pharmaceuticals Pricing Antitrust Litig., MDL No. 2724
  (E.D. Pa.).




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Class Action Defense/Lien Recovery Cases                     > Lowey Dannenberg defended Aetna and secured
                                                               judgments dismissing the class action lawsuits seeking
> Lowey Dannenberg secured judgments dismissing the
                                                               to bar certain reimbursement lien recoveries under
  class action lawsuits, which sought to apply New York
                                                               New Jersey law. Minerley v. Aetna, Inc., No. 13-cv-1377,
  State’s anti-subrogation law to void health insurance
                                                               2019 WL 2635991 (D.N.J. June 27, 2019), aff’d, No.
  plans’ subrogation and reimbursement rights in New
                                                               19-2730, 2020 WL 734448 (3d Cir. Feb. 13, 2020)
  York. Meek-Horton v. Trover, et al., 910 F. Supp. 2d 690
                                                               and Roche v. Aetna, Inc., 165 F. Supp. 3d 180 (D.N.J.
  (S.D.N.Y. 2013); Potts v. Rawlings Co. LLC, 897 F. Supp.
                                                               2016), aff’d, 681 F. App’x 117 (3d Cir. 2017).
  2d 185 (S.D.N.Y. 2012).
                                                             > Lowey Dannenberg successfully established Medicare
                                                               Advantage Organizations’ reimbursement recovery
                                                               rights under the Medicare Secondary Payer Act. In re
                                                               Avandia Mktg., Sales Practices & Prod. Liab. Litig., 685
                                                               F.3d 353, 367 (3d Cir. 2012).




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Securities Litigation
Lowey Dannenberg has represented clients in cases involving financial fraud, auction rate securities,
options backdating, Ponzi schemes, challenges to unfair mergers and tender offers, statutory
appraisal proceedings, proxy contests and election irregularities, failed corporate governance,
stockholder agreement disputes, and customer/brokerage firm arbitration proceedings.




Lowey securities litigation practice has recovered billions of dollars on behalf of defrauded investors. The firm has also
achieved landmark, long term corporate governance changes at public companies, including reversing results of elections
and returning corporate control to the companies’ rightful owners, its stockholders.

Lowey Dannenberg’s public pension fund clients include the California State Teachers’ Retirement System (CalSTRS), the
New York State Common Retirement Fund, the State of Connecticut Retirement Plans and Trust Funds, the Treasurer of
the Commonwealth of Pennsylvania, and the Pennsylvania Treasury Department. Representative institutional investor
clients include Federated Investors, Inc., Glickenhaus & Co., Millennium Partners LLP, Karpus Investment Management
LLP, Amegy Bank, Monster Worldwide Inc., Zebra Technologies, Inc., and Delcath Systems, Inc.


Active Securities Cases

Jedrzejczyk v. Skillz Inc.                                      Corporation in 2019. On September 30, 2021, Judge Paul
                                                                Oetken in the Southern District of New York sustained
Lowey Dannenberg currently serves as Lead Counsel
                                                                Plaintiff’s securities fraud claims, finding that “Plaintiff
for a proposed class of investors alleging that Skillz
                                                                sufficiently pleaded facts supporting his contention that
misled investors by (1) reporting metrics unrelated to the
                                                                Kirkland materially misled investors” when discussing the
company’s performance instead of disclosing its true key
                                                                company’s acquisition strategy. In re Kirkland Lake Gold
metrics, including revenue per paying user; (2) touting
                                                                Ltd. Sec. Litig., No. 20-cv-4953 (JPO), 2021 WL 4482151
a synchronous gameplay feature and an expansion into
                                                                (S.D.N.Y. Sept. 30, 2021).
India that could not be accomplished on the company’s
announced timelines; and (3) misclassifying liabilities as
equity. The case is pending before Judge Richard Seeborg        Vega v. Energy Transfer LP
in the Northern District of California. Jedrzejczyk v. Skillz
                                                                In June 2022, Lowey filed its most recent class action
Inc., No. 3:21-CV-03450-RS (N.D. Cal.).
                                                                lawsuit against Energy Transfer LP, alleging that Energy
                                                                Transfer made materially false and misleading statements
In Re: Kirkland Lake Gold LTD Securities Litigation             related to an investigation by the Federal Energy
                                                                Regulatory Commission (“FERC”) into a drilling incident
Lowey Dannenberg serves as sole Lead Counsel
                                                                that caused a severe environmental disaster near the
representing a proposed class of shareholders against
                                                                Tuscarawas River in Ohio. The case is currently pending
Toronto-based gold-mining company Kirkland Lake
                                                                before Judge Hellerstein in the Southern District of New
Gold Ltd. (now merged with Agnico Eagle Mines Ltd. as
                                                                York. Vega v. Energy Transfer LP, 22-CV-04614 (S.D.N.Y.).
of February 2022). Plaintiffs allege that the company
misled investors when its CEO Anthony Makuch
repeatedly downplayed the possibility that the company
would engage in any mergers or acquisitions, while
simultaneously negotiating the acquisition of Detour Gold




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Said-Ibrahim et al v. FuboTV Inc. et al                          Notable Recoveries
Lowey Dannenberg serves as a court-appointed lead                Notable achievements for our securities clients include
counsel in Said-Ibrahim et al v. FuboTV Inc. et al, No.          the following:
1:21-CV-01412 (S.D.N.Y.). The case is currently pending
before Judge Andrew L. Carter, Jr., and is at the motion         > Norfolk County Retirement System v. Community Health
to dismiss stage. The securities lawsuit alleges FuboTV’s          Systems, Inc., et al. 11-cv-0433 (M.D. Tenn.). Lowey
false and misleading statements concerning their business          Dannenberg recovered $53 million on behalf of Lead
operations and performance metrics, including, among               Plaintiff, the New York City Pension Funds, and the
others, its ability to grow subscription and advertising           certified class of investors in Community Health System
revenue, cost escalations and its prospects of entering            common stock. As Lead Counsel in this hard-fought and
the arena of online sports wagering. Said-Ibrahim et al v.         long-standing securities class action, Lowey Dannenberg
FuboTV Inc. et al, 1:21-CV-01412 (S.D.N.Y.).                       charged Community Health Systems, one of the largest
                                                                   for-profit hospital systems in the United States, with
                                                                   failing to disclose that its highly-touted growth and
United Industrial Workers Pension Plan, et                         performance were achieved through a scheme to
al. v. Waste Management, Inc., et al.                              improperly inflate Medicare patient admissions.
Lowey Dannenberg filed a class action lawsuit against               U.S. District Judge Eli J. Richardson addressed Lowey
Waste Management Inc., alleging that the company and                Dannenberg’s efforts at the final approval hearing finding
its executives made false and misleading statements to              that “counsel for plaintiff has been diligent, very diligent, has
investors, regarding its anticipated merger with Advance            worked very hard, knows the case, knows the facts, is very
Disposal Services. More specifically, plaintiff alleges             experienced in these sorts of securities fraud class actions,
that Waste Management failed to disclose that the U.S.              and has gone to the mat for their client for many years.”
Department of Justice had indicated to Waste Management             During the litigation, Lowey Dannenberg achieved a
that it would require Waste Management to divest assets             unanimous reversal of the lower court’s dismissal of
in excess of $200 million Antitrust Revenue Threshold, and          the case before the Sixth Circuit Court of Appeals and
that as a result, the merger would not be completed by the          successfully opposed Supreme Court review. Norfolk Cty.
projected end date and the senior notes issued to finance           Ret. Sys. v. Community Health Sys., Inc., 877 F.3d 687 (6th
the merger would be subject to mandatory redemption at              Cir. 2017), cert. denied 139 S. Ct. 310 (2018). Following
101% of par. United Industrial Workers Pension Plan, et al. v.      extensive discovery, the court preliminarily approved the
Waste Management, Inc., et al., No. 22-CV-04838 (S.D.N.Y.)          settlement in January 2020, which the Court approved
                                                                    and made final on June 19, 2020.
Boykin v. K12, Inc.                                              > In re Beacon Associates Litigation, 09-CV-0777 (S.D.N.Y.);
Lowey Dannenberg filed and is currently litigating a class         In re J.P. Jeanneret Associates, Inc., et al., 09-cv-3907
action alleging that K12, an education company, misled the         (S.D.N.Y.). Lowey Dannenberg represented several unions,
investing public by claiming it was well-positioned to take        which served as Lead Plaintiffs, in litigation arising from
advantage of the sudden demand for online education                Bernie Madoff’s Ponzi scheme. On March 15, 2013, the
caused by the onset of the COVID-19 pandemic, when                 Honorable Colleen McMahon of the United States District
K12 lacked the technological, administrative, and                  Court for the Southern District of New York granted final
cybersecurity abilities to take on a large number of               approval of the $219.9 million settlement of Madoff
new customers while providing adequate training and a              feeder-fund litigation encompassing the In re Beacon and In
functional product. The case is currently pending before           re Jeanneret class actions. Lowey Dannenberg, as Liaison
the United States Court of Appeals for the Fourth Circuit.         Counsel, was instrumental in achieving this outstanding
Boykin v. K12, Inc., No. 21-2351 (4th Cir.).                       result. The settlement covered several additional lawsuits
                                                                   in federal and New York state courts against the settling
                                                                   defendants, including suits brought by the United States
                                                                   Secretary of Labor and the New York Attorney General.




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  Plaintiffs in these cases asserted claims under the federal       > In re Bayer AG Securities Litigation, 03 Civ. 1546
  securities laws, ERISA, and state laws arising out of               (WHP) (S.D.N.Y.). We represented the New York
  hundreds of millions of dollars of losses sustained by unions       State Common Retirement Fund as Lead Plaintiff in
  and other investors in Bernard Madoff feeder funds. The             a securities fraud class action arising from Bayer’s
  settlement recovered an extraordinary 70% of investors’             marketing and recall of its Baycol drug. Lowey
  losses. This settlement, combined with anticipated recovery         Dannenberg was appointed as lead counsel for the
  from a separate liquidation of Madoff assets, is expected to        New York State Common Retirement Fund at the
  restore the bulk of losses to the pension funds for the local       inception of merits discovery, following the dismissal
  unions and other class members. In granting final approval,         of the New York State Common Retirement Fund’s
  Judge McMahon praised both the result and the lawyering             former counsel. The class action settled for $18.5
  in these coordinated actions, noting that “[i]n the history of      million in 2008.
  the world there has never been such a response to a notice of
                                                                    > In re WorldCom Securities Litigation, Master File No.
  a class action settlement that I am aware of, certainly, not in
                                                                      02 Civ. 3288 (DLC) (S.D.N.Y.). Lowey Dannenberg’s
  my experience,” and that “[t]he settlement process really was
                                                                      innovative strategy and zealous prosecution produced
  quite extraordinary.” In her written opinion, Judge McMahon
                                                                      an extraordinary recovery in the fall of 2005 for
  stated that “[t]he quality of representation is not questioned
                                                                      the New York City Pension Funds in the WorldCom
  here, especially for those attorneys (principally from Lowey
                                                                      Securities Litigation, substantially superior to that
  Dannenberg) who worked so hard to achieve this creative
                                                                      of any other WorldCom investor in either class or
  and, in my experience, unprecedented global settlement.”
                                                                      opt-out litigation. Following our advice to opt out of a
  In re Beacon Associates Litig., 09 CIV. 777 CM, 2013 WL
                                                                      class action in order to litigate their claims separately,
  2450960, at *14 (S.D.N.Y. May 9, 2013).
                                                                      the New York City Pension Funds recovered almost
> In re Juniper Networks, Inc. Sec. Litig., No. C-06-04327            $79 million, including 100% of their damages resulting
  JW (N.D. Cal.). In 2010, as lead counsel for the Lead               from investments in WorldCom bonds.
  Plaintiff, the New York City Pension Funds, Lowey
                                                                    > Federated American Leaders Fund, Inc., No. 08-cv-
  Dannenberg achieved a settlement in the amount of
                                                                      01337-PB (D.N.H.). In 2008, Lowey Dannenberg
  $169.5 million, one of the largest settlements in an
                                                                      successfully litigated an opt-out case on behalf of
  options backdating case, after more than three years
                                                                      client Federated Investors, Inc., arising out of the
  of hard-fought litigation.
                                                                      Tyco Securities Litigation. The client asserted claims
> In re ACS Shareholder Litigation, Consolidated C.A. No.             unavailable to the class (including a claim for violation
  4940-VCP (Del. Ch.). Lowey Dannenberg successfully                  of § 18 of the Securities Exchange Act of 1934 and a
  challenged a multi-billion-dollar merger between Xerox              claim for violations of the New Jersey RICO statute).
  Corp. and Affiliated Computer Systems (“ACS”), which                Pursuit of an opt-out strategy resulted in a recovery of
  favored Affiliated’s CEO at the expense of our client,              substantially more than the client would have received
  Federated Investors, and other ACS shareholders. In                 had it merely remained passive and participated in the
  expedited proceedings, Lowey achieved a $69 million                 class actionsettlement.
  settlement as well as structural protections in the
  shareholder vote on the merger. The settlement was
  approved in 2010.




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> In re Philip Services Corp., Securities Litigation, No. 98   > Delcath Systems, Inc. v. Ladd, et al., No. 06 Civ.
  Civ. 835 (AKH) (S.D.N.Y.). On March 19, 2007, the              6420 (S.D.N.Y.). On September 25, 2006, Lowey
  United States District Court for the Southern District         Dannenberg helped Laddcap Value Partners win an
  of New York approved a $79.75 million settlement of            emergency appeal, reversing a federal district court’s
  a class action, in which Lowey Dannenberg acted as             order disqualifying the votes Laddcap solicited to
  Co-Lead Counsel, on behalf of United States investors          replace the board of directors of Delcath Systems,
  of Philip Services Corp., a bankrupt Canadian resource         Inc. Prior to Lowey Dannenberg’s involvement in
  recovery company. $50.5 million of the settlement              the case, on September 20, 2006, the district court
  was paid by the Canadian accounting firm of Deloitte           enjoined Laddcap, Delcath’s largest stockholder, from
  & Touche, LLP, perhaps the largest recovery from a             submitting stockholder consents on the grounds of
  Canadian auditing firm in a securities class action,           alleged and unproven violations of federal securities
  and among the largest obtained from any accounting             law. After losing an injunction proceeding in the district
  firm. Earlier in the litigation, the United States Court       court on September 20, 2006, and with the election
  of Appeals for the Second Circuit issued a landmark            scheduled to close on September 25, 2006, Laddcap
  decision protecting the rights of United States citizens       hired Lowey Dannenberg to prosecute an emergency
  to sue foreign companies who fraudulently sell their           appeal, which Lowey won on September 25, 2006, the
  securities in the United States. DiRienzo v. Philip            last day of the election period. Delcath Systems, Inc. v.
  Services Corp., 294 F.3d 21 (2d Cir. 2002).                    Ladd, 466 F.3d 257 (2d Cir. 2006). Shortly thereafter,
                                                                 the case settled with Laddcap gaining seats on the
> In re New York Stock Exchange/Archipelago Merger
                                                                 board, reimbursement of expenses, and other benefits.
  Litigation, No. 601646/05 (N.Y. Sup. Ct.). Lowey
  Dannenberg acted as co-lead counsel for a class of           > Salomon Brothers Municipal Partners Fund, Inc.
  seatholders seeking to enjoin the merger between the           v. Thornton, No. 05-cv-10763 (S.D.N.Y.). Lowey
  New York Stock Exchange (“NYSE”) and Archipelago               Dannenberg represented Karpus Investment
  Holdings, Inc. As a result of the action, the merger           Management in its successful proxy contest and
  terms were revised, providing the seatholders with             subsequent litigation to prevent the transfer of
  more than $250 million in additional consideration.            management by Citigroup to Legg Mason of the
  Further, the NYSE agreed to retain an independent              Salomon Brothers Municipal Partners Fund. We
  financial adviser to report to the court as to the             defeated the Fund’s preliminary injunction action
  fairness of the deal to the NYSE seatholders. Plaintiffs       which sought to compel Karpus to vote shares it had
  also provided the court with their expert’s analysis of        solicited by proxy but withheld from voting in order to
  the new independent financial adviser’s report so that         defeat a quorum and prevent approval of the transfer.
  seatholders could assess both reports prior to the             Salomon Brothers Mun. Partners Fund, Inc. v. Thornton,
  merger vote. The court noted that “these competing             410 F. Supp. 2d 330 (S.D.N.Y. 2006).
  presentations provide a fair and balanced view of the
                                                               > In re DaimlerChrysler AG Sec. Litigation, Master Docket
  proposed merger and present the NYSE Seatholders
                                                                 No. 00-993-JJF (D. Del.). Lowey Dannenberg
  with an opportunity to exercise their own business
                                                                 represented Glickenhaus & Co., a major registered
  judgment with eyes wide open. The presentation of
                                                                 investment advisor and, at the time, the second largest
  such differing viewpoints ensures transparency and
                                                                 stockholder of Chrysler, in an individual securities
  complete disclosure.” In re New York Stock Exchange/
                                                                 lawsuit against DaimlerChrysler AG. Successful
  Archipelago Merger Litigation, No. 601646/05, 2005
                                                                 implementation of the firm’s opt-out strategy led
  WL 4279476, at *14 (N.Y. Sup. Ct. Dec. 5, 2005).
                                                                 to a recovery for its clients far in excess of that
                                                                 received by other class members. See Tracinda Corp. v.
                                                                 DaimlerChrysler AG, 197 F. Supp. 2d 42 (D. Del. 2002);
                                                                 In re DaimlerChrysler AG Sec. Litig., 269 F. Supp. 2d 508
                                                                 (D. Del. 2003).




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> Doft & Co. v. Travelocity.com, Inc., No. Civ. A. 19734       > meVC Draper Fisher Jurvetson Fund 1, Inc. v. Millennium
  (Del. Ch.). Following a three-day bench trial in               Partners. Lowey Dannenberg successfully represented
  a statutory appraisal proceeding, the Delaware                 an affiliate of Millennium Partners, a major private
  Chancery Court awarded the firm’s clients, an                  investment fund, in litigation in the Delaware Chancery
  institutional investor and investment advisor, $30.43          Court over a board election. Lowey’s efforts resulted
  per share plus compounded prejudgment interest, for            in the voiding of two elections of directors of meVC
  a transaction in which the public shareholders who did         Draper Fisher Jurvetson Fund 1, Inc., a NYSE-listed
  not seek appraisal were cashed out at $28 per share.           closed end mutual fund, on grounds of breach of
  Doft & Co. v. Travelocity.com, Inc., No. Civ. A. 19734,        fiduciary duty. In a subsequent proxy contest litigation
  2004 WL 1152338 (Del. Ch. May 20, 2004), modified,             in the United States District Court for the Southern
  2004 WL 1366994 (Del. Ch. June 10, 2004).                      District of New York, the entire board of directors
                                                                 was ultimately replaced with Millennium’s slate. meVC
> MMI Investments, LP v. NDCHealth Corp., et al., 05 Civ.
                                                                 Draper Fisher Jurvetson Fund 1, Inc. v. Millennium
  4566 (S.D.N.Y.). Lowey Dannenberg filed an individual
                                                                 Partners,260 F. Supp. 2d 616 (S.D.N.Y. 2003); Millenco
  action on behalf of hedge fund, MMI Investments,
                                                                 L.P. v. meVC Draper Fisher Jurvetson Fund 1, Inc., 824
  asserting claims for violations of the federal securities
                                                                 A.2d 11 (Del. Ch. 2002).
  laws and the common law, including claims not
  available to the class, most notably a claim for violation   > In re CINAR Securities Litigation, Master File No. 00 CV
  of § 18 of the Securities Exchange Act of 1934 and a           1086 (E.D.N.Y. Dec. 2, 2002). Lowey Dannenberg
  claim for common law fraud. After zealously litigating         acted as Lead Counsel, obtaining a $27.25 million
  the client’s claims, the Firm obtained a substantial           settlement on behalf of client the Federated
  settlement, notwithstanding the fact that the class            Kaufmann Fund and a class of purchasers of securities
  claims were dismissed.                                         of CINAR Corporation. The court found that “the
                                                                 quality of [Lowey Dannenberg’s] representation has
> Omnicare, Inc. v. NCS Healthcare, Inc. Lowey
                                                                 been excellent.”
  Dannenberg, as Co-Lead Counsel on behalf of
  an institutional investor, obtained an injunction            > In re Reliance Securities Litigation, MDL No. 1304
  from the Delaware Supreme Court, enjoining a                   (D. Del. 2002). In proceedings in which Lowey
  proposed merger between NCS Healthcare, Inc. and               Dannenberg acted as co-counsel to a Bankruptcy
  Genesis Health Ventures, Inc., in response to Lowey            Court-appointed estate representative, the firm
  Dannenberg’s argument that the NCS board breached              obtained recoveries in a fraudulent conveyance action
  its fiduciary obligations by agreeing to irrevocable           totaling $106 million.
  merger lock-up provisions. As a result of the injunction,
  the NCS shareholders were able to benefit from
  a competing takeover proposal by Omnicare, Inc.,
  a 300% increase from the enjoined transaction,
  providing NCS’s shareholders with an additional
  $99 million. Omnicare, Inc. v. NCS Healthcare, Inc.,
  818 A.2d 914 (Del. 2003).




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Consumer Protection
Lowey Dannenberg has served as lead or co-lead counsel in many challenging consumer protection
cases. The firm has recovered millions of dollars on behalf of consumers injured as a result of unfair
business practices. The firm’s Consumer Protection Group has experience litigating class actions
under state and federal consumer protection law and before state and federal courts.




In re FedLoan Student Loan Servicing Litigation            landlord-tenant class action in In Re Archstone Westbury
                                                           Tenant Litigation, Index No. 21135/07 (N.Y. Sup. Ct.
Attorneys from Lowey Dannenberg were appointed
                                                           Nassau County).
by Judge C. Darnell Jones, II as Co-Lead Counsel and
Executive Committee members in In re FedLoan Student
Loan Servicing Litigation, No. 18-MD-2833 (E.D. Pa.)       Lyons v. Litton Loan Servicing LP
(“FedLoan”). Lowey Dannenberg filed the first action in
                                                           In Lyons v. Litton Loan Servicing LP, et al., No. 13-cv-
the FedLoan litigation alleging that one of the nation’s
                                                           00513 (S.D.N.Y.), Lowey Dannenberg served as Class
largest student loan servicers, the Pennsylvania Higher
                                                           Counsel and recovered $4.1 million on behalf of a class of
Education Assistance Agency, failed to properly service
                                                           homeowners alleging that mortgage servicers colluded to
student loans in order to maximize the fees it received
                                                           force them to buy unnecessary lender-placed insurance.
from the Department of Education under its loan
servicing contract. Lowey Dannenberg also brought
claims against the U.S. Department of Education for        In re Warfarin Sodium Antitrust Litigation
failing to comply with the Higher Education Act and its
                                                           In In re Warfarin Sodium Antitrust Litigation, 391 F.3d
own regulations and rules. The alleged scheme harmed
                                                           516 (3rd Cir. 2004), the Third Circuit Court of Appeals
student loan borrowers by causing them to accrue
                                                           affirmed the United States District Court for the
additional interest on their loans, improperly extending
                                                           District of Delaware’s approval of a $44.5 million class
their repayment terms, and erroneously placing their
                                                           action settlement paid by DuPont Pharmaceuticals to
loans into forbearance. The litigation is ongoing.
                                                           consumers and third-party payers nationwide to settle
                                                           claims of unfair marketing practices in connection
Broder v. MBNA Corp.                                       with the prescription blood thinner, Coumadin. Lowey
                                                           Dannenberg, appointed by the District Court to the
Lowey Dannenberg served as Lead Counsel in Broder
                                                           Plaintiffs’ executive committee as the representative of
v. MBNA Corp., No. 605153/98 (Sup. Ct., N.Y. County),
                                                           third-party payers, successfully argued the appeal.
and recovered $22.8 million dollars on behalf of a class
of holders of credit cards issued by MBNA Bank, who
took cash advances in response to a deceptive MBNA         Snyder v. Nationwide Insurance Company
promotion. The Court noted that Lowey Dannenberg
                                                           In Snyder v. Nationwide Insurance Company, Index No.
is an “able law firm having long-standing experience in
                                                           97/0633 (Sup. Ct. Onondaga Co. December 17, 1998),
commercial class action litigation.”
                                                           Lowey Dannenberg, as co-lead counsel, secured a $100
                                                           million dollar settlement for consumers purchasing
In Re Archstone Westbury Tenant Litigation                 “vanishing premium” life insurance policies. In approving
                                                           the settlement, the Court found that the attorneys of
As lead counsel, Lowey Dannenberg successfully
                                                           Lowey Dannenberg are “great attorneys” who did a “very,
represented a class of renters of mold-infested
                                                           very good job” for the class.
apartments in a $6.3 million settlement of a complex




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Data Breach     5:19-cv-04286-BLF
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Data Breach Class Actions
Lowey Dannenberg represents both consumers and financial institutions in some of the largest
data breach class actions this year, including those affecting tens of millions of customers across the
hospitality, healthcare, and retail industries.




Barr v. Drizly, LLC, Case No. 20-CV-11492 (D. Mass.)         approximately eight months.
Lowey Dannenberg served as court-appointed class             Chief Judge John E. Jones, III of the U.S. District Court
counsel on behalf of millions of consumers impacted          for the Middle District of Pennsylvania sustained several
by a data breach at one of the largest alcohol delivery      of Plaintiffs’ key claims, including negligence, breach
companies, Drizly LLC (“Drizly”). On March 30, 2021,         of implied contract, and unjust enrichment. During
U.S. District Judge Leo T. Sorokin granted preliminary       discovery, Lowey Dannenberg successfully argued that
approval of a settlement in which Drizly agreed to pay       Rutter’s must turn over investigative reports prepared
a total of no less than $1,050,000 and no more than          by third party consultants, which Rutter’s argued were
$3,150,000, and issue service credits up to $447,750.        protected by the attorney-client privilege and work
Drizly also agreed to implement and maintain sufficient      product doctrine.
data security measures to prevent future data breaches.
On November 22, 2021, the Court granted final approval
of the settlement. As a result of Lowey Dannenberg’s         Hozza v. PrimoHoagies Franchising,
robust notice program, Drizly paid the maximum amount        Inc., No. 20-cv-04966 (D.N.J.)
under the terms of the settlement.
                                                             Lowey Dannenberg recently settled a class action against
                                                             PrimoHoagies Franchising, Inc. (“PrimoHoagies”) arising
In re Wawa, Inc. Data Security Litigation,                   out of the company’s deficient data security that exposed
                                                             consumers’ personal data, including credit card information.
No. 19-cv-06019 (E.D. Pa.)
                                                             The data breach is estimated to have lasted seven months,
Lowey Dannenberg serves as co-lead counsel in a class        impacting dozens of locations across seven states.
action against Wawa, Inc. (“Wawa”) on behalf of a class
of financial institutions affected by Wawa’s failure to
properly secure their card processing system. As a result    In re USAA Data Security Litigation,
of Wawa’s conduct, unauthorized third parties were able      No. 21-cv-05813 (S.D.N.Y.)
to gain access to customers’ payment card information
                                                             On November 17, 2021, Judge Vincent L. Briccetti
for over nine months. The data breach is estimated to
                                                             appointed Lowey Dannenberg as co-lead counsel
have impacted more than 30 million individuals at 850
                                                             representing a proposed class of consumer plaintiffs.
locations. Judge Gene E.K. Pratter of the U.S. District
                                                             The case alleges that United Services Automobile
Court for the Eastern District of Pennsylvania sustained
                                                             Association (“USAA”) allowed unauthorized third parties
several of Plaintiffs’ claims, including negligence and
                                                             to intentionally target and improperly obtain Plaintiffs’
injunctive relief.
                                                             and class members’ personally identifiable information,
                                                             including Driver’s License numbers, through the use of
In re Rutter’s Inc. Data Security Breach                     USAA’s online insurance quote and/or policy process.
Litigation, No. 20-cv-00382 (M.D. Pa.)
Lowey Dannenberg is serving as co-lead class counsel
in a class action on behalf of consumers against Rutter’s
Holdings, Inc. (“Rutter’s”). The action arises out of
Rutter’s failure to secure its point-of-sale system, which
allowed hackers to compromise customers’ payment
card information. The breach is estimated to have lasted




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Privacy Class   5:19-cv-04286-BLF
              Actions                          Document 222-2 Filed 07/18/22 Page 482 of 561


Privacy Class Actions
Lowey Dannenberg is at the forefront of some of the most high-profile and largest privacy cases in
the country, including those involving new and emerging technology.




In re Google Assistant Privacy Litigation,                    (CPUs) that Apple designed and placed in millions of
No. 19-cv-04286 (N.D. Cal.)                                   its devices, which exposed users’ sensitive personal
                                                              information to unauthorized third parties. After dismissal
Lowey Dannenberg serves as co-lead class counsel in one
                                                              for lack of standing, Lowey Dannenberg led the appellate
of the largest privacy cases in the country, representing
                                                              efforts before the U.S. Court of Appeals for the Ninth
a class of consumers against tech giant Google. Plaintiffs’
                                                              Circuit who ultimately vacated the District Court’s
claims arise out of Google’s unlawful and intentional
                                                              decision and remanded for further proceedings.
recording of Plaintiffs’ and class members’ confidential
communications without their consent through its Google
Assistant software. Lowey Dannenberg has successfully         Frasco v. Flo Health, Inc., No. 21-cv-00757 (N.D. Cal.)
defeated several rounds of motion to dismiss briefing over
                                                              Lowey Dannenberg serves as court appointed co-lead
two years of litigation.
                                                              counsel in a class action against Flo Health, Inc. (“Flo”),
                                                              Google, LLC, Facebook, Inc., AppsFlyer, Inc. and Flurry,
Lopez v. Apple, Inc., No. 19-cv-04577 (N.D. Cal.)             Inc. Plaintiffs represent a class of consumers alleging
                                                              that Flo collected and disclosed their intimate health
Similar to the case above, Lowey Dannenberg serves
                                                              data to some of the largest data analytics and advertising
as co-lead class counsel in a class action on behalf of
                                                              companies in the world. Plaintiffs allege claims for
consumers alleging that Apple unlawfully and intentionally
                                                              invasion of privacy, breach of contract, and violation of
recorded Plaintiffs’ and class members’ confidential
                                                              the Federal Wiretap Act, among others.
communications without their consent through its Siri-
enabled devices. On September 2, 2021, Judge Jeffrey
S. White of the Northern District of California credited      Wesch v. Yodlee, Inc., No. 20-cv-05991 (N.D. Cal.)
Plaintiffs’ well-pled allegations in sustaining several
                                                              Lowey Dannenberg is leading the prosecution against
of Plaintiffs’ claims, including those under the Federal
                                                              Yodlee, Inc., one of the largest data and analytics
Wiretap Act, the California Invasion of Privacy Act, and
                                                              companies in the world. Lowey Dannenberg represents
the California Constitution.
                                                              a class of consumers whose financial data Yodlee, Inc.
                                                              surreptitiously collected and sold without consent
In re Apple Processor Litigation,                             through software incorporated in third party applications.
No. 18-cv-00147 (N.D. Cal.)                                   Lowey Dannenberg has successfully defeated two rounds
                                                              of motion to dismiss briefing, leaving intact claims for
Lowey Dannenberg currently serves as co-lead class
                                                              invasion of privacy, fraudulent deceit, and violation of
counsel in a proposed class action against Apple alleging
                                                              California’s Anti-Phishing Act, among others.
that Plaintiffs and the class were harmed by Apple’s
failure to disclose defects in its central processing units




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Lowey Dannenberg’s Recognized Expertise                       222-2 Filed 07/18/22 Page 483 of 561


Lowey Dannenberg’s Recognized Expertise
Courts have repeatedly recognized the attorneys of Lowey Dannenberg as expert practitioners in the
field of complex litigation.




For example, on March 15, 2013, the Honorable Colleen           > “The proof of the pudding is that an astonishing
McMahon of the United States District Court for the               98.72% of the Rule 23(b)(3) Class Members who
Southern District of New York granted final approval              were eligible to file a proof of claim did so (464 out
of the $219 million settlement of Madoff feeder-fund              of 470), and only one Class Member opted out [that
litigation encompassing the In re Beacon and In re                Class Member was not entitled to recover anything
Jeanneret class actions. In a subsequent written decision,        under the Plan of Allocation]. I have never seen
with glowing praise, Judge McMahon stated:                        this level of response to a class action Notice of
                                                                  Settlement, and I do not expect to see anything like
> “The quality of representation is not questioned
                                                                  it again.”
  here, especially for those attorneys (principally from
  Lowey Dannenberg) who worked so hard to achieve               > “I am not aware of any other Madoff-related case in
  this creative and, in my experience, unprecedented              which counsel have found a way to resolve all private
  global settlement.”                                             and regulatory claims simultaneously and with the
                                                                  concurrence of the SIPC/Bankruptcy Trustee. Indeed,
> “I thank everyone for the amazing work that you did
                                                                  I am advised by Private Plaintiffs’ Counsel that the
  in resolving these matters. Your clients—all of them—
                                                                  Madoff Trustee is challenging settlements reached by
  have been well served.”
                                                                  the NYAG in other feeder fund cases [Merkin, Fairfield
> “Not a single voice has been raised in opposition to this       Greenwich] which makes the achievement here all the
  remarkable settlement, or to the Plan of Allocation that        more impressive.”
  was negotiated by and between the Private Plaintiffs,
                                                                In Juniper Networks, Inc. Securities Litigation, the court,
  the NYAG and the DOL.”
                                                                in approving the settlement, acknowledged that “[t]he
> “All formal negotiations were conducted with the              successful prosecution of the complex claims in this case
  assistance of two independent mediators - one                 required the participation of highly skilled and specialized
  to mediate disputes between defendants and the                attorneys.” In re Juniper Networks, Inc., C06-04327,
  investors and another to mediate claims involving the         Order dated August 31, 2010 (N.D. Cal.). In the WorldCom
  Bankruptcy Estate. Class Representatives and other            Securities Litigation, the court repeatedly praised the
  plaintiffs were present, in person or by telephone,           contributions and efforts of the firm. On November
  during the negotiations. The US Department of Labor           10, 2004, the court found that “the Lowey Firm . . . has
  and the New York State Attorney General participated          worked tirelessly to promote harmony and efficiency in
  in the settlement negotiations. Rarely has there been         this sprawling litigation .
  a more transparent settlement negotiation. It could
                                                                [Lowey Dannenberg] has done a superb job in its role as
  serve as a prototype for the resolution of securities-
                                                                Liaison Counsel, conducting itself with professionalism
  related class actions, especially those that are
                                                                and efficiency . . . .” In re WorldCom, Inc. Securities Litigation,
  adjunctive to bankruptcies.”
                                                                No. 02 Civ. 3288, 2004 WL 2549682, at *3 (S.D.N.Y.
                                                                Nov. 10, 2004).




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Lowey Dannenberg’s Recognized Expertise                       222-2 Filed 07/18/22 Page 484 of 561


In the In re Bayer AG Securities Litigation, 03 Civ. 1546,      In the In re Luminent Mortgage Capital, Inc., Securities
2008 WL 5336691, at *5 (S.D.N.Y. Dec. 15, 2008)                 Litigation, No. C07-4073 (N.D. Cal.) hearing for final
order approving a settlement of $18.5 million for the           approval of settlement and award of attorneys’ fees,
class of plaintiffs, Judge William H. Pauley III noted that     Judge Phyllis J. Hamilton noted that “[t]he $8 million
the attorneys from Lowey Dannenberg are “nationally             settlement . . . is excellent, in light of the circumstance.”
recognized complex class action litigators, particularly in     Judge Hamilton went on to say that “most importantly,
the fields of securities and shareholder representation,”       the reaction of the class has been exceptional with only
that “provided high-quality representation.”                    two opt- outs and no objections at all received.” See
                                                                Tr. of Hearing on Plaintiff’s Motion for Final Approval
                                                                of Settlement/Plan of Allocation and for an Award of
                                                                Attorneys’ Fees and Reimbursement of Expenses, In re
                                                                Luminent Mortgage Capital, Inc., Securities Litigation, No.
                                                                C07-4073-PJH (N.D. Cal. Apr. 29, 2009), ECF No. 183.




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               FIRM RESUME




                      www.scott-scott.com
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Scott+Scott specializes in the investigation and prosecution of
complex actions across the globe – recovering billions for its
clients. The Firm has extensive experience litigating securities
fraud, antitrust, consumer and other complex cases and is a
pioneer in structured finance monitoring for client portfolios. We
represent individual, institutional, and multinational clients in US,
UK, and EU courts, offering a one-stop shop for international
recoupment.
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THE FIRM
Scott+Scott was founded in 1975 and began its securities litigation practice in 1997. The Firm has
since grown into one of the most respected U.S.-based law firms specializing in the investigation and
prosecution of complex securities, antitrust and other commercial actions in both the United States
and Europe. Today, the Firm is comprised of more than 135 team members, including more than one
hundred attorneys supported by a seasoned staff of paralegals, IT and document management
professionals, financial analysts, and in-house investigators.

Scott+Scott’s largest offices are in New York, NY and San Diego, CA, with additional U.S. offices
located in Connecticut, Virginia, Ohio, and Arizona. The Firm’s European offices are currently located
in London, Amsterdam, and Berlin.

Scott+Scott has extensive experience litigating cases on behalf of our institutional and individual clients
throughout the United States, having served as court-appointed lead or co-lead counsel in numerous
securities, antitrust, and consumer class actions, as well derivative and other complex proceedings,
in both state and federal courts. The Firm also represents large investors and numerous corporations
in commercial and other litigation in courts within the European Union (EU) and the United Kingdom.

Scott+Scott’s attorneys are recognized experts and leaders in complex litigation and corporate
governance. They have been regular speakers on CLE panels as well as at institutional investor
educational conferences around the world and before boards of directors and trustees responsible for
managing institutional investments. Scott+Scott attorneys educate institutional investors and
governmental entities on the importance of fulfilling fiduciary obligations through the adoption of
appropriate asset recovery services, as well as through the development and enforcement of corporate
governance initiatives. The Firm’s vast experience in structured debt financial litigation has also
enabled us to provide clients with in-depth monitoring of their structured finance products, which often
come with substantial undisclosed risks due to investors’ limited ability to assess what they are
acquiring. The Firm also has experience evaluating and monitoring for our clients’ debt and debentures
originating from private placements and non-public companies, including municipal bonds and
derivatives.
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CONSUMER LITIGATION
Scott+Scott’s    Consumer      Practice    Group    consists   of   some   of   the   premier   advocates
in the area of consumer protection and has litigated and secured some of the most significant
consumer protection settlements on behalf of its clients, resulting in hundreds of millions of dollars to
class members. The Firm’s Consumer Practice Group has attorneys dedicated to three primary areas:
Data Breach/Data Privacy Litigation, Healthcare and Pharmaceutical Litigation, and Consumer
Protection Litigation.




DATA BREACH/DATA PRIVACY:
CASE EXAMPLES
Scott+Scott has extensive experience litigating data privacy and data breach class actions advancing
cutting-edge    legal    theories.   The   Firm    has   achieved   some   of   the   largest   recoveries
in this area and currently serves in a leadership capacity in a number of data privacy and data breach
class actions, including:

• In re Equifax, Inc. Customer Data Security Breach Litigation , No. 1:17-md-02800 (N.D. Ga.) (claims
on behalf of financial institutions injured as a result of the 2017 Equifax data breach that exposed the
personal and financial information of approximately 150 million U.S. consumers; preliminary approval
of settlement valued at $32.5 million);
• In re Google Assistant Privacy Litigation , No. 5:19-cv-04286 (N.D. Cal.) (class action on behalf of
consumers alleging privacy violations whereby Google Assistant records and discloses their private
confidential communications without consent);
• Lopez v. Apple Inc. , No. 4:19-cv-04577 (N.D. Cal.) (class action on behalf of consumers and their
minor children alleging privacy violations by Apple through its Siri application); and
• In re: American Medical Collection Agency, Inc. Customer Data Security Breach Litigation , No. 2:19-
md-02904 (D.N.J.) (claims on behalf of consumers involving data breach of personal information).
Recently, in settling a class action against The Wendy’s Co. involving a breach of personal and
financial information, the court, in approving the $50 million dollar settlement, noted that Scott+Scott
and its attorneys demonstrated “very significant experience in these types of class actions and in
data breach litigation” and that the attorneys “brought to the table an incredible wealth of
knowledge, was always prepared, really was thorough and professional in everything that was
provided to the Court.” First Choice Federal Credit Union v. The Wendy’s Co. , No. 2:16-cv-00506,
Transcript at 32 (W.D. Pa. Nov. 6, 2019).
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Additional data privacy and data breach settlements achieved by Scott+Scott for its clients include:
• In re Arkansas Federal Credit Union v. Hudson's Bay Co ., No. 1:19-cv-4492 (S.D.N.Y.) (lead counsel,
$5.2 million settlement on behalf of consumers involving data breach of payment card information). In
granting final approval of the settlement, the Court acknowledged that Scott+Scott’s attorneys “have
extensive experience in litigating data breach class actions in federal courts” and commended
Scott+Scott for a “job well done.”
• The Home Depot, Inc., Customer Data Security Breach Litig. , MDL No. 2583 (N.D. Ga.) (co-lead
counsel; $27.25 million settlement on behalf of financial institutions involving data breach and theft of
the personal and financial information of over forty million credit and debit card holders);
• In re Target Corp. Customer Data Security Breach Litig. , MDL No. 2522 (D. Minn.) ($59 million
settlement on behalf of financial institutions injured by theft of sensitive payment card information);
• Greater Chautauqua Federal Credit Union v. Kmart Corporation , No. 1:15-cv-02228 (N.D. Ill.)
(settlement valued at $13.4 million on behalf of financial institutions injured by the theft of sensitive
payment card information); and
• WinSouth Credit Union v. Mapco Express, Inc ., No. 3:14-cv-01573 (M.D. Tenn.) (largest per dollar
per card recovery involving payment card data breach brought on behalf of a class of financial
institutions).



INSURANCE AND PHARMACEUTICAL
LITIGATION
Scott+Scott represents consumers and health and welfare funds throughout the United States who
have been overcharged in connection with their insurance and pharmaceutical transactions. The Firm
currently serves in a leadership capacity in a number of insurance and pharmaceutical class actions,
including:

• Sohmer v. UnitedHealth Group Inc. , No. 0:18-cv-03191 (D. Minn.) (co-lead counsel; claims on behalf
of plan participants alleging overcharge for prescription drug copayments);
• Negron v. Cigna Corporation , No. 3:16-cv-01702 (D. Conn.) (chair of executive committee; claims
on behalf of plan participants alleging overcharge for prescription drug copayments);
• Forth v. Walgreen Co, Inc. , No. 1:17-cv-02246 (N.D. Ill.) (class action on behalf of consumers and
third party union benefit funds alleging unlawful overcharges for medically necessary prescription
drugs); and
• Stafford v. Rite Aid Corporatio n, No. 3:17-cv-01340 (S.D. Cal.) (class action on behalf of consumers
who were overcharged for prescription drug claims).
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Insurance and Pharmaceutical
REPRESENTATIVE CASES
Scott+Scott has significant experience litigating against insurance companies and pharmaceutical
manufacturers. The Firm’s lawyers have obtained some of the largest settlements in consumer
healthcare litigation, including:

• In re Managed Care Litig. , MDL No. 1334 (S.D. Fla.) (settlements with Aetna, CIGNA, Prudential,
Health Net, Humana, and WellPoint providing monetary and injunctive benefits exceeding $1 billion);
and
• In re Prudential Ins. Co. SGLI/VGLI Contract Litigation , MDL No. 2208 (D. Mass.) ($40 million
settlement) was achieved on behalf of a class of military service members and their families who had
purchased insurance contracts).



CONSUMER PROTECTION LITIGATION
Scott+Scott has been at the forefront in prosecuting consumer protection actions against
organizations engaging in unfair practices. The Firm currently serves, or has recently served, in a
leadership capacity in a number of consumer protection class actions, including:

• Aquilina v. Certain Underwriters at Lloyd’s London , No. 1:18-cv-00496 (D. Haw.) (representing
Hawaii homeowners who were placed into insurance excluding lava coverage and suffered devastating
losses as a result of the 2018 eruption of Kilauea); and
• Morris v. Apple, Inc. , No. 5:20-cv-04812 (N.D. Cal.) (class action on behalf of consumers who
purchased iTunes gift cards under false pretenses and were not refunded the value of the iTunes gift
cards).



Consumer Protection
REPRESENTATIVE CASES
Over the past decade, Scott+Scott has litigated a number of diverse cases and fought for rights of
consumers to be treated fairly and equitably. The Firm has achieved significant settlements that have
protected consumers’ rights and recovered substantial monetary benefits, including:

• The Vulcan Society, Inc. v. The City of New York , No. 1:07-cv-02067 (E.D.N.Y.) ($100 million
settlement and significant injunctive relief was obtained for a class of black applicants who sought to
be New York City firefighters, but were denied or delayed employment due to racial discrimination);
• In re Providian Financial Corp. Credit Card Terms Litigation , MDL No. 1301 (E.D. Pa.) ($105 million
settlement was achieved on behalf of a class of credit card holders who were charged excessive
interest and late charges on their credit cards);
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• In re Pre-Filled Propane Tank Marketing & Sales Practices Litigation , MDL No. 2086 (W.D. Mo.) ($37
million settlement obtained on behalf of class of propane purchasers who alleged defendants
overcharged the class for under-filled propane tanks);
• Murr v. Capital One Bank (USA) , N.A., No. 1:13-cv-01091 (E.D. Va.) ($7.3 million settlement on
behalf of class of consumers who were misled into accepting purportedly 0% interest credit card
offers); and
• Gunther v. Capital One, N.A. , No. 2:09-cv-02966 (E.D.N.Y.) (settlement resulting in class members
receiving 100% of their damages in case alleging consumers were improperly charged undeliverable
mail fees).
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ACCOLADES
U.S. News & World Report “Best Law Firms”
The Firm is currently ranked by U.S. News & World Report as a “Best Law Firm” in commercial litigation
in the New York region.

American Antitrust Institute
The 2018 Antitrust Annual Report recognized In re Foreign Currency Benchmark Rates Antitrust
Litigation as the #1 settlement of 2018, as well as ranking the Firm #1 nationally for aggregate
settlements: 2013-2018.

Global Competition Review
At the 6th Annual Global Competition Review (“GCR”) Awards, Scott+Scott won for Litigation of the
Year – Cartel Prosecution, which recognized the Firm’s efforts in the foreign exchange settlements in
the United States, a landmark case in which major banks conspired to manipulate prices paid in the
$5.3 trillion-per-day foreign exchange market and have thus far settled for more than $2 billion.

Law 360 Glass Ceiling Report
Scott+Scott is recognized as one of the top law firms in the nation for female attorneys by the legal
publication Law360. The Glass Ceiling Report honors firms that “are demonstrating that the industry’s
gender diversity goals can turn into a measurable result, and boost the number of women at all levels
of a law firm. 1, 2 ” This selection highlights the importance Scott+Scott places on diversity and inclusion
within the Firm.

Center for Constitutional Rights
Scott+Scott was the recipient of the 2010 Center for Constitutional Rights’ Pro Bono Social Change
Award for its representation of the Vulcan Society, an association of African-American firefighters, in
challenging the racially discriminatory hiring practices of the New York City Fire Department.

1
    https://www.law360.com/articles/1310926
2
    https://www.law360.com/articles/1162859/the-best-law-firms-for-female-attorneys.
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WORLD-CLASS ATTORNEYS
We pride ourselves on the caliber of legal talent on our team. In addition to some of the best and
brightest rising stars, we have attorneys who have served with distinction in the U.S. Department of
Justice, been admitted to the U.S. Supreme Court, served in OAGs at the state level, argued before
the UK’s CAT and High Courts, and received virtually every accolade offered in our profession.




ADMISSIONS
U.S. Admissions: United States Supreme Court; United States Courts of Appeal for the First, Second,
Third, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits; United States District Courts
for the Districts of California (Northern, Southern, Eastern, and Central), Colorado, Connecticut, Florida
(Northern), Illinois (Northern), Massachusetts, Michigan (Eastern), Missouri (Eastern), New Jersey, New
York (Southern, Eastern, and Western), Ohio (Northern and Southern), Pennsylvania (Eastern and
Western), Texas (Northern, Western, and Southern), Wisconsin (Eastern and Western), and the District
of Columbia; and the courts of the States of Arizona, California, Connecticut, Delaware, Florida,
Maryland, Pennsylvania, Massachusetts, Nebraska, New Jersey, New York, Ohio, West Virginia,
Wisconsin, Texas, and the District of Columbia.
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ATTORNEY BIOGRAPHIES
DAVID R. SCOTT
PRACTICE EMPHASIS

Managing Partner David R. Scott represents multinational corporations, hedge funds, and institutional
investors in high-stakes, complex litigation, including antitrust, commercial, and securities actions.

ADMISSIONS

States of New York, Pennsylvania, and Connecticut; United States Tax Court; United States Courts of
Appeal: Second, Third, and Fifth Circuits; United States District Courts: Southern District of New York,
Connecticut, Eastern District of Pennsylvania, Northern and Southern Districts of Texas, and Colorado

EDUCATION

New York University School of Law (LL.M. in taxation); Temple University School of Law (J.D., Moot
Court Board, 1989)

St. Lawrence University (B.A., cum laude, 1986)

HIGHLIGHTS

Mr. Scott is the Managing Partner of Scott+Scott with offices in New York, Amsterdam, London, Berlin,
California, Connecticut, Virginia, Arizona and Ohio.

In addition to managing the firm’s lawyers worldwide, Mr. Scott advises some of the world’s largest
multinational corporations in cartel damages and other complex matters. He has been retained to
design corporate policies for the global recoupment of losses, and transatlantic private enforcement
programs.

He currently represents multinational companies and hedge funds in cases involving, among other
things, price-fixing in the trucks, foreign exchange, high voltage power cables, cardboard, and
payment card sectors.

Mr. Scott’s antitrust cases in the United States have resulted in significant recoveries for victims of
price-fixing cartels. Among other cases, Mr. Scott served as co-lead counsel in Dahl v Bain Capital
Partners, No. 1:07-cv-12388 (D. Mass.), an action alleging that the largest private equity firms in the
United States colluded to suppress prices that shareholders received in leveraged buyouts and that
the defendants recently agreed to settle for $590.5 million. He was lead counsel in Red Lion Medical
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Safety v. Ohmeda, No. 06-cv-1010 (E.D. Cal.), a lawsuit alleging that Ohmeda, one of the leading
manufacturers of medical anesthesia equipment in the United States, excluded independent service
organizations from the market for servicing its equipment. The case was successfully resolved in
settlement negotiations before trial.

Mr. Scott has received widespread recognition for his antitrust and competition law work. He has been
elected to Who’s Who Legal: Competition 2015- 2020, which lists the world’s top antitrust and
competition law lawyers, selected based on comprehensive, independent survey work with both
general counsel and lawyers in private practice around the world. He has also received a highly
recommended ranking by Benchmark Litigation for each of the years 2013-2015. In addition, Mr. Scott
is continually recognized in the U.S. by Best Lawyers and Super Lawyers.

In addition to his extensive competition law work, Mr. Scott has also taken the lead in bringing claims
on behalf of institutional investors, such as sovereign wealth funds, corporate pension schemes, and
public employee retirement funds. For example, he has been retained to pursue losses against
mortgaged-backed securities trustees for failing to protect investors. He also represented a consortium
of regional banks in litigation relating to toxic auction rate securities (“ARS”) and obtained a sizable
recovery for the banks in a confidential settlement. This case represents one of the few ARS cases in
the country to be successfully resolved in favor of the plaintiffs.

Mr. Scott is frequently quoted in the press, including in publications such as The Financial Times, The
Economist, The Guardian, The Daily Telegraph, The Wall Street Journal, and Law360. He is regularly
invited to speak at conferences around the world and before Boards of Directors and trustees
responsible for managing institutional investments.
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JOSEPH P. GUGLIELMO
PRACTICE EMPHASIS

Joseph P. Guglielmo represents clients in consumer, antitrust and privacy litigation in federal
and state courts throughout the United States.

ADMISSIONS

United States Supreme Court; United States Courts of Appeal: First, Second, Third, Sixth,
Eighth, Ninth and Eleventh Circuits; United States District Courts: Southern, Eastern and
Northern Districts of New York, Districts of Massachusetts, Connecticut, and Colorado, Northern
District of Illinois, Eastern District of Wisconsin; States of New York and Massachusetts; District
of Columbia

EDUCATION

Catholic University of America (J.D., 1995; B.A., cum laude, 1992; Certificate of Public Policy)

HIGHLIGHTS

Mr. Guglielmo is a partner in the firm’s New York office and was recognized for his efforts
representing New York University in obtaining a monumental temporary restraining order seeking
the recovery of over $200 million from a Bernard Madoff feeder fund. Specifically, in approving
the settlement, New York State Supreme Court Justice Richard B. Lowe III stated, “Scott+Scott
has demonstrated a remarkable grasp and handling of the extraordinarily complex matters in this
case. The extremely professional and thorough means by which NYU’s counsel has litigated
this matter has not been overlooked by this Court.”

Mr. Guglielmo currently serves in a leadership capacity in a number of complex class actions,
including: Forth v. Walgreen Co, Inc., No. 1:17-cv-02246 (N.D. Ill.) (lead counsel, asserting
claims on behalf of nationwide class of consumers and third-party payers alleging overcharges
for prescription drugs); Stafford v. Rite Aid Corporation, 3:17-cv-01340 (S.D. Cal.) (lead counsel,
asserting claims that Rite Aid overcharged customers for prescription drugs); In Re: Disposable
Contact Lens Antitrust Litigation, No. 3:15-md-2626 (M.D. Fla.)(co-lead counsel, settlements
obtained in excess of $45 million on behalf of a class of contact lens purchasers alleging
violations of the antitrust laws); Arkansas Federal Credit Union v. Hudson Bay, No. 1:19-cv-
4492-PKC (S.D.N.Y.) (lead counsel, claims on behalf of financial institutions arising out of data
breach); Sohmer v. UnitedHealth Group Inc., No. 18-cv-03191 (JNE/BRT) (D. Minn.) (co-lead
counsel, claims on behalf of ERISA plan participants alleging overcharge for pharmaceutical
copayments); Negron v. Cigna Corporation, No. 3:16-cv-1702 (WWE) (D. Conn.) (chair of
executive committee, claims on behalf of ERISA plan participants involving overcharge of
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copayments for prescription drugs); McPherson v. American Bank Systems, Inc., 5:20-cv-01307-
G (W.D. Okla.) (co-lead counsel, claims involving disclosure of personal and financial information
resulting from data breach); In re Sonic Corp. Customer Data Security Breach Litig., 1:17-md-
2807 (N.D. Ohio) (Plaintiffs’ Steering Committee, claims on behalf of financial institutions
involving breach of payment card information); and In re: American Medical Collection Agency,
Inc. Customer Data Security Breach Litigation, No. 2:19-md-2904 (D.N.J.), Plaintiffs’ Steering
Committee, claims on behalf of consumers involving data breach of personal information.

Mr. Guglielmo was recently a member of the settlement team and signatory of a $92 million
settlement in In re TikTok, Inc., Consumer Privacy Litigation, No. 1:20-cv-04699 (N.D. Ill.),
involving violations of privacy claims on behalf of consumers. Mr. Guglielmo was also actively
involved in In re Foreign Exchange Benchmark Rates Antitrust Litigation, No. 1:13-cv-07789-
LGS (S.D.N.Y), where settlements in excess of $2 billion have been obtained on behalf of
purchasers of foreign exchange instruments who alleged violations of federal antitrust laws.

Throughout Mr. Guglielmo’s career, he has achieved significant victories and obtained numerous
settlements for his clients, including: In re Equifax, Inc. Customer Data Security Breach
Litigation, No. 1:17-md-02800 (N.D. Ga.) (claims on behalf of financial institutions injured as a
result of the 2017 Equifax data breach that exposed the personal and financial information of
approximately 150 million U.S. consumers, preliminary approval of settlement valued at $32.5
million); In re The Home Depot, Inc., Customer Data Security Breach Litigation, MDL No. 2583
(N.D. Ga.) ($27.25 million settlement on behalf of financial institutions involving data breach and
the theft of the personal and financial information of over 40 million credit and debit card holders);
First Choice Federal Credit Union v. The Wendy’s Company, No. 16-cv-00506 (W.D. Pa.) ($50
million settlement on behalf of financial institutions involving data breach and the theft of the
personal and financial information of over 18.5 million credit and debit card holders); In re Target
Corporation Customer Data Security Breach Litigation, MDL No. 2522 (D. Minn.) ($59 million
settlement on behalf of financial institutions injured by the theft of sensitive payment card
information); Veridian Credit Union v. Eddie Bauer LLC, No. 2:17-CV-00356-JLR (W.D. Wash.)
($9.8 million settlement on behalf of financial institutions arising out of data breach of payment
card information); Winsouth Credit Union v. Mapco Express Inc., No. 3:14-cv-1573 (M.D. Tenn.)
(settlement of the largest dollar-per-card recovery on behalf of financial institutions involving
data breach of credit and debit card information).

Mr. Guglielmo was one of the principals involved in the litigation and settlement of In re Managed
Care Litigation, MDL No. 1334 (S.D. Fla.), which included settlements with Aetna, CIGNA,
Prudential, Health Net, Humana, and WellPoint, providing monetary and injunctive benefits
exceeding $1 billion and played a leading role and obtained substantial recoveries for his clients
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including Love v. Blue Cross and Blue Shield Ass’n, No. 03-cv-21296 (S.D. Fla.), which resulted
in settlements of approximately $130 million and injunctive benefits valued in excess of $2 billion;
In re Insurance Brokerage Antitrust Litigation, MDL No. 1897 (D.N.J.), settlements in excess of
$180 million; Valle v. Popular Community Bank, No. 653936/2012 (N.Y. Supreme Ct.), $5.2
million settlement on behalf of consumers, In re Pre-Filled Propane Tank Marketing and Sales
Practices Litigation, MDL No. 2086 (W.D. Mo.), consumer settlements in excess of $40 million;
Bassman v. Union Pacific Corp., No. 97-cv-02819 (N.D. Tex.), $35.5 million securities class
action settlement; Garcia v. Carrion, No. CV 11-1801 (D.P.R.), substantial corporate governance
reforms; Boilermakers National Annuity Trust Fund v. WaMu Mortgage Pass-Through
Certificates, No. 09-cv-00037 (W.D. Wash.), $26 million securities class action settlement, Murr
v. Capital One Bank (USA), N.A., No. 13-cv-1091 (E.D. Va.), $7.3 million settlement pending on
behalf of class of consumers who were misled into accepting purportedly 0% interest offers, and
Howerton v. Cargill, Inc., No. 13-cv-00336 (D. Haw.), $6.1 million settlement obtained on behalf
of class of consumers who purchased Truvia, purported to be deceptively marketed as “all-
natural.” Mr. Guglielmo was the principle litigator and obtained a significant opinion from the
Hawaii Supreme Court in Hawaii Medical Association v. Hawaii Medical Service Association, 113
Hawaii 77 (Haw. 2006), reversing the trial court’s dismissal and clarifying rights for consumers
under the state’s unfair competition law.

Mr. Guglielmo lectures on electronic discovery and was a member of the Steering Committee of
Working Group 1 of the Sedona Conference®, an organization devoted to providing guidance
and information concerning issues such as discovery and production issues, as well as areas
focusing on antitrust law, complex litigation, and intellectual property, and a member of the
drafting team responsible for the Sedona Principles, Third Edition. Presently, Mr. Guglielmo
serves on the board of the Advanced eDiscovery Institute at Georgetown University Law Center.
He is a frequent speaker on electronic discovery issues. Mr. Guglielmo was also recognized for
his achievements in litigation by his selection to The National Law Journal’s “Plaintiffs’ Hot List.”
In 2021, Mr. Guglielmo was recognized by Super Lawyers as a top Antitrust lawyer in the New
York metro area, was named by Who’s Who in Legal Litigation: Leading Practitioner-E-Discovery
(2021). Mr. Guglielmo was also named by Lawdragon in 2021 as one of the 500 Leading Plaintiff
Financial Lawyers.

Mr. Guglielmo is also a member of the following associations: District of Columbia Bar
Association, New York State Bar Association, and American Bar Association.
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ERIN GREEN COMITE
PRACTICE EMPHASIS

Erin Green Comite litigates complex class actions throughout the United States, representing
the rights of shareholders, employees, consumers, and other individuals harmed by corporate
misrepresentation and malfeasance.

ADMISSIONS

State of Connecticut; United States Courts of Appeal: Second, Third, Ninth, and Eleventh
Circuits; United States District Courts: Southern District of New York, District of Connecticut,
Northern District of Illinois, Eastern District of Wisconsin, and District of Colorado

EDUCATION

University of Washington School of Law (J.D., 2002); Dartmouth College (B.A., magna cum
laude, 1994)

HIGHLIGHTS

Ms. Comite is a partner in the firm’s Connecticut office and currently serves in a leadership role
in a number of complex class actions including: First Choice Federal Credit Union v. The Wendy’s
Company, No. 16-cv-00506 (W.D. Pa.), co-lead counsel on behalf of financial institutions arising
out of data breach; In re Arby’s Restaurant Group, Inc. Litigation, No. 17-mi-55555 (N.D. Ga.),
member of Plaintiffs’ Executive Committee on behalf of financial institutions arising out of a data
breach, In re Equifax, Inc. Customer Data Security Breach Litigation, MDL No. 2800 (N.D. Ga.),
chair of law and briefing committee; Forth v. Walgreen Co, Inc., No. 1:17-cv-02246 (N.D. Ill.),
co-lead counsel, asserting claims on behalf of class of consumers alleging overcharge for
medically necessary, covered prescription drugs; and Aquilina v. Certain Underwriters at Lloyd’s
London, No. 1:18-cv-00496 (D. Haw.), co-lead counsel, alleging that insurers, brokers, and
agents improperly steered insureds into surplus lines insurance.

Recently, Ms. Comite has played a significant role in the prosecution of consumer class cases
such as: In re The Home Depot, Inc., Customer Data Security Breach Litigation, MDL No. 2583
(N.D. Ga.) ($27.25 million settlement) and In re Target Corporation Customer Data Security
Breach Litigation, MDL No. 2522 (D. Minn.) ($59 million settlement), two of the largest data
breaches impacting consumer personal data to date; Greater Chautauqua Federal Credit Union
v. Kmart Corp., No. 15-cv-02228 (N.D. Ill.), Chair of the Plaintiffs’ Steering Committee ($8.1
million settlement); Morrow v. Ann, Inc., No. 1:16-cv-03340 (S.D.N.Y.) ($8.1 million settlement);
Howerton v. Cargill, Inc., No. 13-cv-00336 (D. Haw.) ($6.1 settlement); Murr v. Capital One Bank
(USA), N.A., No. 13-cv-1091 (E.D.
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Va.) ($7.3 million settlement); and In re Nutella Mktg. & Sales Practices Litigation, No. 11-cv-
01086 (D.N.J.) ($2.5 million settlement).

Ms. Comite’s appellate victories in consumer class actions include Nunes v. Saks Inc., 2019 WL
2305039 (9th Cir. May 30, 2019); Chavez v. Nestle USA, Inc., 511 F. App’x 606 (9th Cir. 2013)
(achieving a reversal of dismissal); and In re Nutella Mktg. & Sales Practices Litigation, 589 F.
App’x 53 (3d Cir. 2014) (defending settlement from professional objectors).

Since joining Scott+Scott in 2002, she has litigated such cases as In re Priceline.com Securities
Litigation ($80 million settlement); Schnall v. Annuity and Life Re (Holdings) Ltd. ($27 million
settlement); and In re Qwest Communications International, Inc. (settlement obtaining $25
million for the company and achieving corporate governance reforms aimed at ensuring board
independence).

While Ms. Comite is experienced in all aspects of complex pre-trial litigation, she is particularly
accomplished in achieving favorable results in discovery disputes. In Hohider v. United Parcel
Service, Inc., Ms. Comite spearheaded a nearly year-long investigation into every facet of UPS’s
preservation methods, requiring intensive, full-time efforts by a team of attorneys and paralegals
well beyond that required in the normal course of pre-trial litigation. Ms. Comite assisted in
devising the plan of investigation in weekly conference calls with the Special Master, coordinated
the review of over 30,000 documents that uncovered a blatant trail of deception and prepared
dozens of briefs to describe the spoliation and its ramifications on the case to the Special Master.
In reaction to UPS’s flagrant discovery abuses brought to light through the investigation, the
Court conditioned the parties’ settlement of the three individual ADA cases on UPS adopting and
implementing preservation practices that passed the approval of the Special Master.

Prior to entering law school, Ms. Comite served in the White House as Assistant to the Special
Counsel to President Clinton. In that capacity, she handled matters related to the White House’s
response to investigations, including four independent counsel investigations, a Justice
Department task force investigation, two major oversight investigations by the House of
Representatives and the Senate, and several other congressional oversight investigations.

Ms. Comite’s volunteer activities have included assisting immigrant women, as survivors of
domestic violence, with temporary residency applications as well as counseling sexual assault
survivors. Currently, Ms. Comite supports Connecticut Children’s Medical Center and March of
Dimes/March for Babies.
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JOHN T. JASNOCH

PRACTICE EMPHASIS
John Jasnoch’s practice areas include securities and antitrust class actions, shareholder derivative
actions, consumer protection, commercial contracts, intellectual property, and other complex, high stakes
litigation.

ADMISSIONS
United States District Courts: Southern, Central, and Northern Districts of California; United States
Court of Appeal: Ninth Circuit; State Supreme Courts: California

EDUCATION
University of Nebraska, College of Law (J.D., 2011);
Creighton University (B.A., Political Science and International Relations, cum laude, 2007)

HIGHLIGHTS
John Jasnoch is a partner in the San Diego office. He represents clients in complex litigations in
state and federal courts across the county. John has been counsel of record in numerous
successful cases where Scott+Scott served in a leadership capacity, including: In re LendingClub
Corp. Shareholder Litigation, No. CIV537300 (Cal. Super. Ct. San Mateo Cty) ($125 million federal
and state joint settlement); In re King Digital Entertainment plc Shareholder Litigation, No. CGC-
15-544770, (Cal. Super. Ct. San Francisco Cty.) ($18.5 million settlement); In re FireEye, Inc.
Securities Litigation, No. 1:14-cv-266866 (Cal. Super. Ct. Santa Clara Cty.) ($10.3 million
settlement); In re Pacific Coast Oil Trust Securities Litigation, No. BC550418 (Cal. Super. Ct. Los
Angeles Cty.) ($7.6 million settlement); and In re MobileIron, Inc., Shareholder Litigation, No. 1-15-
284001 (Cal. Super. Ct. Santa Clara Cty) ($7.5 million settlement). John currently represents
plaintiffs in a number of high profile cases, including In re Lyft, Inc. Securities Litigation, No. CGC
19-575293 (Cal. Super Ct. San Francisco Cty); In re Uber Technologies Inc. Securities Litigation,
No. CGC 19-579544 (Cal. Super Ct. San Francisco Cty); In re Slack Technologies, Inc.
Shareholder Litigation, No. 19-cv-5370 (Cal. Super Ct. San Mateo Cty); and In re Google Assistant
Privacy Litigation, No. 19-cv-04286 (N.D. Cal.).

In 2015, Mr. Jasnoch was a member of the trial team in Scorpio Music S.A. v. Victor Willis, a
landmark copyright jury trial concerning the copyright ownership of hit songs by The Village
People. In that suit, Scott+Scott client and Village People lyricist Victor Willis obtained a
declaratory judgment confirming his copyright termination and giving him a 50% copyright interest
in “YMCA” and other classic Village People compositions. No. 11-cv-1557 (S.D. Cal.).

In 2020, Mr. Jasnoch was named as one of SuperLawyers’ “Rising Stars” for Securities Litigation in the
San Diego Area.
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ALEX OUTWATER
ADMISSIONS

State of California; United States District Courts for the Northern, Central, and Southern Districts
of California

EDUCATION

University of San Diego School of Law (J.D., 2008), University of California, Santa Barbara (B.A.,
Italian Cultural Studies, 1999)

PRACTICE EMPHASIS

Alex Outwater’s practice focuses on complex antitrust and consumer class actions.

REPRESENTATIVE CASES

Indiana State District Council of Laborers and HOD Carriers Pension and Welfare Fund v.
Omnicare, Inc., 2:06-cv-00026-WOB-CJS (E.D. Ky.): (settlement valued at $20 million)

In Re Tesla Motors, Inc. Stockholder Litigation, No. 12711-VCS (Del. Ch.): an action alleging
Elon Musk, as Tesla’s controlling stockholder, and Tesla’s Board of Directors, breached fiduciary
duties to Tesla shareholders in connection with Tesla’s $2.6 billion acquisition of SolarCity (a
company in which Musk held a substantial interest)
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     IN RE GOOGLE ASSISTANT PRIVACY LITIGATION


         Case No. 5:19-cv-04286, U.S.District Court,
                     Northern District of California


        Class Economic Damages Declaration
                      of Fernando Torres, MSc.



                                Submitted to:
                          LOWEY DANNENBERG, P.C.
                      SCOTT+SCOTT ATTORNEYS AT LAW LLP
                            Attorneys for Plaintiffs



                                      Submitted by




                        9320 Chesapeake Drive, Suite 110
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                                      July 18, 2022




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1. QUALIFICATIONS AND EXPERIENCE

My name is Fernando Torres. I am a professional economist and have over 30
years of experience in applied and theoretical economics. During this time, I
have been a consultant, a university professor, and a business manager. Both
my undergraduate and post-graduate degrees are in Economics, the latter with
a concentration in Econometrics, the study of the application of mathematics,
statistical methods, and computer science to economic data. Since 2005, I
have specialized in the analysis and valuation of Intangible Assets, including
Intellectual Property, rights of publicity, and privacy issues. Currently, I am a
member and Chief Economist of IPmetrics LLC, an independent consulting firm,
and reside in Santa Fe, New Mexico.

During the past 18 years, I have undertaken a plurality of valuation
engagements where I have appraised the value of a variety of intangible assets
in several contexts, such as for licensing and transaction rate setting, for loan
collateral analysis, and generally to assist in the decision-making process
regarding the economic role of intangible assets, including intellectual property.
I also regularly give presentations and write about valuation techniques as
applicable to intangibles and have co-designed and taught the course
“Valuing Intangible Assets for Litigation” for the National Association of Valuation
Analysts.

Additionally, I have served as a consultant on numerous cases involving
intellectual property infringement issues and contractual disputes. I have
prepared over 90 expert reports and have trial, arbitration, and deposition




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testimony experience as an economic damages1 expert witness on behalf of
both plaintiffs and defendants. I have experience in complex commercial
litigation cases nationally.

In recent years, I have been called upon to testify in cases where the
intersection of social media and advertising has been alleged to have
breached rights and principles of privacy, publicity, trademarks, and patents. In
some cases, the issues I have reported on for the courts were the benefits
derived by the social media/advertising platform infringing the rights of publicity
of a class of users,2 while in others the issue has been the economic value of
social media marketing in sustaining the viability of traditional media properties.3
In other cases, the issue of consumers’ privacy has been at the core.4

My curriculum vitae is included as Appendix A to this Declaration. Appendix B
contains my testimony history, including all matters in which I have provided
expert testimony in the previous four years. Appendix C lists the documents
considered in forming my opinions in this case.

2. ASSIGNMENT AND BACKGROUND

I have been retained by the law firms of Scott+Scott Attorneys at Law LLP and
Lowey Dannenberg, P.C., counsel for Plaintiffs in “In re Google Assistant Privacy




1 In this Declaration, I use the term “damages” in an economic sense to refer to the concept of
  harm to the Plaintiffs and the Class or the gain realized by Defendants. I am not using the term
  “damages” in a legal sense.
2 In: Fraley et al. v. Facebook, Inc., case 11-1726 before the USDC for the Northern District of

  California.
3 In: S. Mattocks v. Black Entertainment Television, LLC, case 13-61582 before the USDC for the

  Southern District of Florida.
4 In: In Re Google, Inc., Privacy Policy Litigation, case 12-cv-1382; and Campbell et al. v.

  Facebook, Inc., case 13-05996, both before the USDC for the Northern District of California.




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Litigation,” 5 (hereinafter “Counsel”). Appendix D details the compensation
arrangements between me and Counsel.

Specifically, Counsel has engaged me to analyze whether a common
methodology is available to estimate damages suffered by Plaintiffs and the
putative class members (the “Class”) as a result of the alleged false, deceptive,
and unlawful conduct of defendant Google, LLC (“Google” or the “Company”).

My analysis is based on assumptions about what the applicable law is, and I do
not express any legal opinions on this topic. I do not express any opinions on
whether Google is ultimately liable under any of the causes of action pled by
Plaintiffs.

Furthermore, this analysis is based on the information I have received to date; I
may revise this Declaration based on the receipt of additional documents or
information. In addition, I expect to consider any criticisms of my analysis offered
by Defendants or any of Defendants’ experts.

If called to testify in this matter, I may at the request of Counsel prepare
demonstrative exhibits to reflect or summarize the information I describe in this
analysis, as permitted by the Court’s orders.

A. Case Summary

      It is my understanding that this case is brought on behalf of Plaintiffs and a
      Class of consumers whose communications were allegedly recorded by
      Google without their consent and/or subsequently used by Google for its




5   Fourth Amended Consolidated Class Action Complaint, in case 5:19-cv-04286-BLF, before the
    USDC for the Northern District of California (“FAC”), filed August 2, 2021.




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    own commercial purposes, including for example to improve its speech
    technology or for targeted advertising.6

    I further understand that the alleged misconduct ultimately stems from
    several allegedly false, deceptive, and unlawful actions undertaken by
    Defendants, as follows:7

        1. The interception and recording, by Google’s Assistant service, of
                Plaintiffs’ confidential communications without their consent.

        2. Google’s use of the allegedly wrongfully obtained communications for
                commercial purposes, including for training and testing algorithms and
                models in order to improve its speech technology in addition to
                targeted advertising.

        3. Google’s sharing of the allegedly wrongfully obtained communications
                with human reviewers who listened to and manually transcribed or
                annotated the recorded audio.

        4. False and deceptive statements in Google’s contracts with consumers,
                including the Terms of Service and Privacy Policy, regarding Google’s
                practice of collecting, recording, sharing, and using users’ audio.

    I understand that these actions by Defendants are alleged to have taken
    place starting in May 18, 2016 through the present, violated a number of
    federal and state statutes and the common law and constituted a breach of
    contract between Google and the Plaintiffs and Class members.8




6 Ibid, at §1
7 Ibid. at §1, 4, 6-10.
8 Ibid. at §1, 243-264.




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      I understand that Plaintiffs in this case argue that Google made the following
      promises to consumers in its Terms of Service and Privacy Policy regarding its
      collection, recording, sharing, and use of their audio, which were in fact
      untrue:

                (1) That Google would not collect Plaintiffs’ and Class members’
                   communications without their consent or knowledge; and

                (2) that it would not then use and/or share the allegedly unlawfully
                   obtained information.

      Plaintiffs in this case argue that as a result of Google’s misrepresentations in its
      Privacy Policy and Terms of Service, Plaintiffs and the Class paid an unjustified
      price premium for products equipped with Google Assistant. 9 Specifically,
      Google’s representations that Google Assistant does not record Plaintiffs’
      and the Class’s confidential communications absent the utterance of a
      “Hotword” or manual activation, and that it does not share the recordings
      with third party human reviewers (the “Challenged Claims”).

      Further, I understand that some of the federal and state statutes, make
      available to Plaintiffs and the Class specific statutory remedies. Plaintiffs and
      the Class also have available actual damages, statutory damages, and a
      return of the profits realized by Defendants. Based on the information from
      Counsel, I also understand that Plaintiffs may also seek nominal damages.

      In summary, my analysis focuses on identifying and developing a
      methodology to measure the relevant economic damages caused by the




9   Ibid. at §262, inter alia.




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     accused business practices of Defendants to Plaintiffs and the Class on a
     class-wide basis.

B. Classes and Subclasses

     I understand from Counsel that for purposes of this Declaration, I should
     assume the following Classes and Subclasses:

        i) All Users10 who purchased a Google-Made Device11 (the “Purchaser
                Class”).

        ii) All Opted-In Users12 of Google Home Devices who have a recording
                resulting from a False Accept13 (the “Privacy Class).

        iii) All members of the Privacy Class for whom Google shared at least one
                recording resulting from a False Accept with a human reviewer (“the
                Privacy Disclosure Subclass”).

        iv) All members of the Privacy Class for whom Google used at least one
                recording resulting from a False Accept for (i) testing or training to
                improve the functionality of Google speech technology, or (ii)
                targeted advertising (the “Privacy Use Subclass”).

        v) All Opted-In Users of GAEDs for whom Google shared a recording with
                a human reviewer (the “SCA Class”14).




10 “Users” are individuals whose Gmail accounts were associated with at least one Google-
    Assistant Enabled Device or “GAED” during the Class Period.
11 “Google-Made Devices” refers to GAEDs manufactured and sold by Google, including

    Google’s own smart home speakers, Google Home, Home Mini, and Home Max; smart
    displays, Google Nest Hub, and Nest Hub Max; and its Pixel smartphones, laptops, and tablets.
12 “Opted-In Users” means Users who have enabled Voice and Audio Activity.
13 “False Accept” means an instance in which Google Assistant records and transmits audio to

    Google without manual activation or a Hotword.




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3. SUMMARY OF OPINIONS

The central conclusions of this analysis15 can be summarized, with reference to
the general characteristics of the various categories involved, as follows.

A. Breach of Contract

     From the perspective of the Purchaser Class, a breach of the sales contract
     corresponding to the Google Home Devices occurred, at least to the extent
     this Class was promised privacy (in that Google will not share their recordings
     with third parties) and no collection of information from unintended
     recordings (“False Accepts”),16 while they were actually subject to a Google
     Assistant service that records, shares, and uses communications not intended
     for Google. The measure of economic damages in this instance is a price
     premium representing the difference between the market price of the
     promised device and service (i.e., with privacy protections), and that of the
     device and service delivered by Google (i.e., a set that records, shares, and
     uses Users’ communications).

     As further explained in the detailed sections that follow, a reliable measure of
     this premium can be derived on the basis of the applicable statistical
     technique of Conjoint Analysis. This technique has been developed and in
     broad use since the early 1970s to value individual attributes of a consumer
     product or service.




14 “SCA” refers to the Stored Communications Act.
15 Given that the analysis relies on currently available information, the conclusions summarized
   here may be further refined as a result of additional production by Google or the ability to
   consider additional information.
16 See, e.g., FAC, at §252.




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      Moreover, while the Purchaser Class thus overpaid for what Defendants
      delivered, at least some of those sales would not have been forthcoming
      had the full information about the service been disclosed by the time of
      purchase. Thus, the number of units sold of the Google Home Devices was
      likely greater than the number of units warranted by the actual service
      characteristics, given consumers’ privacy concerns.

B. Statutory Damages

      I understand from Counsel that a number of state and federal statutes under
      which Plaintiffs assert claims provide for statutory damages. These statutory
      damages can be applied to all affected Plaintiffs and Class members
      uniformly and I provide several example calculations demonstrating this
      below.17

      Specifically, I understand that the Federal Wiretap Act (“FWA”) may be
      applicable based on the alleged unlawful interception and that members of
      the Privacy Class may seek such statutory damages. Further, I understand the
      FWA provides for distinct statutory damages for the use and/or disclosure of
      the intercepted communications. I am advised by Counsel that the Privacy
      Use Subclass and the Privacy Disclosure Subclass would be seeking these
      statutory damages.

      Moreover, I understand the SCA Class and the Privacy Disclosure Subclass
      would be seeking statutory damages as provided for by the SCA. Finally, the
      Privacy Class would be seeking statutory damages provided for by the
      California Invasion of Privacy Act (“CIPA”).




17   FAC, at §2 et seq.




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                                                                                                        and
      incorporates as part of the Google Voice telephone service,19



      Moreover,
                                                   the voice data captured from the Class
      members




      Internally,
                                                   : 20

      a)

      b)
      c)



      Thus, Google ultimately monetarily benefits from the captured audio
      recordings




E. Summary

      The various types of damages and the applicable Classes and Subclasses to
      which they apply are summarized in the following table.



19   See: https://voice.google.com/about.
20   See, e.g., GOOG-ASST-03045635 and 3045642.




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A. Economics of Privacy

     Privacy as a general concept has long been the subject of philosophical and
     legal interpretations.21 The scope of the present analysis, however, is limited
     to the economic aspects of privacy and a corresponding framework for
     valuing its loss as a result of the violations alleged in this action.

     Economics is concerned with consumers’ privacy as the value of controlling
     information about oneself.22 The ability to control the private information that
     a product manufacturer, or a service provider, receives is part of that
     product or service’s value to consumers.

     This is particularly relevant since the advent of the Internet and the rise of
     myriad ways in which consumers’ information is collected, analyzed, and
     monetized.23 Given that the unintended revelation of private information24
     may be permanent and have negative economic consequences (such as
     higher prices or restrictions in choices), it is in consumers’ economic interest to
     protect their private information in the market transactions they engage in.25

     Consequently, when facing the choice, it is in consumers’ best interest to only
     reveal private information if the “privacy cost” – the value of the extent of
     privacy revealed – is offset by the compensating offer provided by




21 See, e.g., Posner, Richard A., "The Right of Privacy" (1978). Georgia Law Review, 12(3), 393–422.
   https://digitalcommons.law.uga.edu/lectures_pre_arch_lectures_sibley/22.
22 See, e.g., Posner, R. A., 1981. “The Economics of Privacy.” American Economic Review, 71(2),

   405–409.
23 In particular, as many transactions and activities involving sensitive information are now

   conducted online. See, e.g., Acquisti, A. et al, “The Economics of Privacy”, Journal of
   Economic Literature, 2016, 54(2), 442–492 (http://dx.doi.org/10.1257/jel.54.2.442).
24 In most economic settings, examples of such information are encompassed by health status,

  education and demographic characteristics, purchase intentions, and other economic
  interests.
25 Acquisti (2016).




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      information acquirers, such as a discount or other meaningful convenience
      or specific desirable payoff. In making this choice, consumers rely on the
      representations of the counter party about the extent of the information
      captured and the secondary or further use of that information, if any. Of
      course, in order to accurately assess a product’s value, consumers must have
      access to accurate information about its privacy cost.

      The economic analysis of the prototypical “privacy transaction” thus defined,
      whereby the consumer is offered goods or services,26 nominally in exchange
      for access to certain types of otherwise private information,27 has certain
      identifiable core characteristics:

          1) Intrinsically, “data privacy” is similar to other economic goods, in the
                sense consumers have a preference to keep private information
                undisclosed unless a sufficiently attractive trade-off is offered for
                disclosure.

          2) Considering the viewpoint of what revealing certain data can get the
                consumer, there is an “instrumental” preference for privacy which is
                influenced in the market by what the information acquirer promises as
                a payoff for disclosure. This instrumental preference for privacy reflects
                consumers’ preference for concealing their data on account of
                knowing what disclosure can do for them.

          3) The economic measure of the benefit received from the transaction,
                i.e., consumers’ utility, is a further concept which does not depend on




26   Such as search, directions, weather, gaming, etc.
27   Such as topics of interest, destination, location, etc.




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                what the disclosed information reveals, but on the amount of value
                received by consumers as a whole.

     The fact that consumers may, under certain circumstances, reveal private
     data in exchange for a suitable value proposition, has been noted and
     leveraged by companies such as Google. For example, in a recent online
     seminar for advertisers on their platform, Google highlighted the fact that
     “90% of consumers are willing to share their personal information for the right
     incentive.”28

     Finally, while preferences may vary among the population,29 the economic
     transaction for private data thus far analyzed implies a common measure of
     what consumers exchange for their privacy: The value of the data acquirer’s
     stated offer offsets the value attached by consumers to revealing information.

B. Google’s Business Model

     According to the Company’s public disclosures, 30 Google’s mission is “to
     organize the world’s information and make it universally accessible and
     useful.”31

     While Google Search remains the core service, according to the Company,
     Google Assistant is meant to offer “the best way to get things done




28 Talk titled “Get the playbook to privacy success”, part of the “Google Marketing Live 2022”
    event, available at: (adsonair.withgoogle.com/events/google-marketing-live-
    2022/watch?talk=get-the-playbook-to-privacy-success).
29 From an economic perspective, preferences are individuals’ hierarchical pairwise orderings

    over the set of goods and services (the Consumption Set) they encounter in the market. See,
    inter alia, Jehle, G.A. and Reny, P.J., Advanced Microeconomic Theory, 3rd Ed., FT Prentice
    Hall, 2011, pp 4-13.
30 For example, Alphabet Inc.’s SEC Form 10-K Report for the fiscal year ended December 31,

   2021 (“Alphabet 2022 10K”).
31 Alphabet 2022 10K, p 4.




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     Private information about a representative consumer i is symbolized as: di. This
     information may include gender, income, purchase intentions, or other types
     of information (like private conversations) that individuals may consider
     private and, thus, have a preference to conceal from others.

     In requesting data, the firm offers a form of compensation to consumers as
     an incentive to share information. In the case at hand, this is represented by
     the information retrieval or voice-activated controls the Google Assistant
     service provides.37 Economically, this incentive has a certain value, denoted
     here as a “perk” value of P.38

     The representative consumer i decides whether to share (si) his/her data with
     the service provider. An individual’s decision, si, takes on the value of either 1
     or 0, symbolizing whether the choice is to share or not, respectively. To make
     that decision, the consumer takes into account the value of the product or
     service provided and his/her intrinsic preference for privacy, expressed as a
     certain cost of sharing private data, ci, which reflects the monetary value lost
     if that information is involuntarily disclosed.

     If the choice is to share the data (si = 1), the consumer gains access to the
     relevant products or service which, conceptually, may have a benefit (e.g.,




37 Google’s offerings are diverse and are broader than the Assistant service. The best known are
   its search engine, the YouTube video library, and the email service Gmail. The Assistant service
   is a way to access information in those other offerings, e.g., it allows for a user to perform a
   search using their voice by converting speech to text and vice versa, it also allows users to play
   YouTube videos or read back messages from their email, thereby integrating with these other
   services. See, e.g., Alphabet 2022 10K, pp 5-7, and the dedicated website at:
   https://assistant.google.com/.
38 This value reflects the economic benefit to users of hands-free use of their devices, for

   example.




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      saving time or aggravation) in exchange for the value of the data shared,
      symbolized as a function T(di). 39

      If the choice is to not share the data (si = 0), the firm can only give the
      consumer more generic “average” ads (or targeted based on existing data
      gathered about the consumer), for example. Symbolically, this response from
      the service provider has a base value of T(0).

      Anticipating how the firm uses data, e.g., to provide a more “personalized
      experience,” consumer i also has an instrumental preference for privacy; the
      expected economic gain from not revealing his/her data. This is measured
      by the difference between the incremental value of provided to the
      consumer relative to the base value: T(0) –T(di), denoted ΔT(di).

      Therefore, the representative consumer will choose to share (additional)
      private data if, and only if, the privacy cost is offset by the incentive
      compensation value, P, that the service provider promises:

                                          si = 1 if     P > ci + ΔT(di),
                                               si = 0   otherwise.

      This model reflects the empirically verified notion that consumers do not want
      to share private information when they are not compensated for it,40 and is
      also implicit in Google’s view cited before about the substantial power to
      capture “personal information for the right incentive.”




39   Measures of benefit to defendant’s business are considered below.
40   An average price of 33 cents per variable was found to increase the probability of sharing by
     about 20% across private demographic information variables. Intrinsic Preferences results
     (Table 2) in: T. Lin (2021), p 15.




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D. Market Dynamics and Private Data

    In the context of the online economy where businesses like Google and
    consumers like the Class/Subclass members interact, private data is a
    valuable commodity, particularly when it is used as an aggregate. As such,
    the case at hand illustrates one particular dimension of this situation, where
    the terms of the privacy transaction analyzed in the prior subsections are
    violated by the way the Google Assistant service operates in practice.

    To round out the conceptual basis supporting the assessment of economic
    damages in this case, the interaction is considered in what follows as a
    market for private data.

                 Supply and Demand of Private Data

    In this market, consumers in general, and Class members in particular, can be
    considered suppliers of such private data. They hold certain aspects of
    information about them as private and will only reveal some of it voluntarily in
    exchange for a benefit, much like a conventional producer of a good only
    supplies it for an acceptable price.

    Simultaneously, businesses and advertisers, in general, and Google in
    particular represent the demand side for private data. The need for this data
    is not arbitrary at all; there is a clear business purpose for its use. Data
    considered private provides insights into purchasing intentions, hidden
    interests, and other motivators which can be used at scale to develop
    products, improve existing ones, to target marketing communications,
    customize price strategies, and increase sales and profits.

    A salient characteristic of this market is that the interaction of market
    participants is not open or direct. Rather, the interaction occurs as a
    consequence of a different exchange, typically access to digital goods and


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     services. The case at hand is a representative example: Google offers its
     Assistant service for free,41 but




                                                                                       .

     As far as the relevant market in this case is concerned, users of the Google
     Assistant service pay for it by linking their use of it to their Google account
     and, thus, by providing access to their data, including their private data
     conditioned by the explicit policy and assurances at the core of the case.42
     Google provides the service at least in part because, as discussed above, it
     augments its collection of data for the user profile, which in turn is used to
     enhance its technology and its advertising business.43

                 Willingness to Pay and to Accept

     In dealing with the privacy of their data, consumers increasingly are aware of
     the transaction that has been highlighted in this analysis. Empirical research
     into this transaction has often looked to survey respondents as to their own
     appraisal of the worth of preserving their private data. 44

     This research has focused on two approaches to eliciting such valuations.
     One group of studies essentially asks participants what the lowest price is they
     would be willing to accept to give up some degree of protection of their
     personal data. This price is referred to as the Willingness to Accept (“WTA”).




41 Google, of course, does sell the specialized devices that offer the Assistant service.
42 FAC, at §167 et seq.
43 E.g., as detailed above in reference to Google’s patent disclosure in US Pub. No.

   US20050222989A1.
44 See, inter alia, A, Acquisti, L.K. John, and G. Lowenstein. “What is Privacy Worth?” Journal of

   Legal Studies 42, no. 2 (June 2013): 249-274.




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     The other group asks what the maximum price is they would be willing to pay
     to acquire a degree of protection of their personal data. This alternative is
     referred to in the literature as the Willingness to Pay (“WTP”). In principle,
     these two valuations are assumed to be consistent.45

     In this context, Google’s privacy preserving assurances with respect to the
     Assistant service and the GAEDs may create an impression of higher privacy
     control at the outset and, thus, lead to higher level of WTA/WTP.

                 Interaction of Supply and Demand

     Ultimately, in the context of the privacy transaction in the context of the sale
     of GAEDs, both suppliers and consumers interact, and, per the preceding
     analyses, Purchase Class members buy the devices relying on Google’s
     representations that their privacy will be preserved and that for instance,
     Google will not share individuals’ private conversations with third parties or
     utilize them for undisclosed purposes, such as training and testing, or targeted
     advertising.46 In that transaction, Class members valued their private data at
     least as highly as the value of the Assistant services. They will have overpaid if
     their private data was captured or shared in circumstances beyond that
     assurance, since private data of higher value than bargained for will have
     been taken.

     To illustrate this interaction and how it relates to the calculation of the breach
     of contract damages, the following figures depict the basic supply-demand



45 In practice, a discrepancy has been apparent, whereby respondents’ WTA is higher than their
  WTP. In terms of the privacy transaction, this difference reflects the lack of transparency as to
  the precise nature and extent of the data that is being captured, as well as more general
  concepts well-known from behavioral economics: loss aversion, whereby people overestimate
  losses relative to gains, and the endowment effect, whereby people overestimate what they
  already have over its market value.
46 FAC, at §252.




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       chart for this market. In Figure 1, demand is illustrated as the green
       downward-sloping line, reflecting the normal increase of the quantity
       demanded (horizontal axis) as price goes down (vertical axis). Supply is
       depicted as a horizontal line, as is typical in digital services, because the
       supplier is able to offer any level without a significant increase in unit costs in
       the relevant quantity range.47 In this simple scenario, at the supply price p
       consumers demand q units of the product (GAED with Assistant services and
       privacy assurances).




       In Figure 2, there is a different, and lower, price recognized by consumers
       when the lack of privacy turns out to be the case: price p’. The total premium
       paid¸ which is the multiplication of the difference in prices (p – p’) times the




47    It is well understood the costs of providing Assistant services like Search results, for example, are
     overwhelmingly fixed costs and, thus, the marginal cost is essentially zero, which is what a
     horizontal supply curve represents. (See: inter alia, E. Ricart-Costa, J., Subirana, B., Valor-Sabatier, J.
     (2004). Proprietary Content Providers: Aggregators (Portals). In: Sources of Information Value. Palgrave
     Macmillan, London, p 101.




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      actual quantity purchased (q). In the figure, this amount of damages is
      represented by the area of the rectangle labeled “Premium.”

      Moreover, if the true extent of the actual privacy risk is known in the market,
      the demand function itself could shift left, reducing the quantity demanded
      for any given product price. Demand for the combined good (GHD with
      Assistant services) depends on both the supply price and the privacy
      assurances.

E. Economic Damage to Privacy

      In the event where the private data is captured without the consumer being
      made aware of the transaction, the incentive is absent; P = 0 and the
      consumer suffers the loss of the economic value from not revealing his/her
      data, ΔT(di), and the cost of losing control of his/her private data, ci.

      Therefore, the economic damage to the consumer under this surreptitious
      listening and sharing scenario encompasses: the intrinsic value of the private
      data captured and/or shared; and the instrumental value his/her would
      have perceived in a voluntary exchange.48

      The intrinsic damage element reflects consumers’ preference for privacy,
      which is measurable monetarily in terms of their WTP to preserve privacy. The
      damage on account of instrumental preference is dependent on how the
      firm uses (i.e., benefits from) consumer data. It does not simply reflect
      consumer reticence to share, but how the aggregated data thus captured is
      used.




48   E.g., in the empirical results from Lin (2021), if the private data is “purchase intent”, consumers
     perceive an intrinsic loss of $1.825, on average, plus an instrumental loss of the value of getting
     a relevant discount coupon (or other intent-dependent benefit they would normally expect).




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5. MEASURING ECONOMIC DAMAGES

Once discovery is completed. the preceding framework can be used to
estimate economic damages to the Class members with respect to the alleged
interception and recording of Plaintiffs’ and Class members’ confidential
communications by Google’s Assistant service without their consent, and
subsequent unauthorized disclosure and use.

A. Conjoint Analysis

     Consumer choices motivated by their preferences simultaneously reflect a
     number of product features and benefits. Thus, a statistical analysis
     technique is necessary to decompose such preferences and identify the
     partial contributions of the feature of interest.

     At its core, the Conjoint Analysis methodology has been refined and
     employed for decades to address this problem.49 Over the years, four types
     of conjoint methods have been developed:50

        •       Traditional Conjoint Analysis (“CA”), using stated preference ratings
        •       Choice-based Conjoint Analysis (“CBCA”), using stated choices
        •       Adaptive Conjoint Analysis (“ACA”), for large numbers of attributes
        •       Self-explicated Conjoint Analysis (“SECA”), a bottom-up method.

     The underlying research question in the case at hand deals with discerning
     among specific privacy choices under a scenario that makes the choice




49 Wharton School Professor Paul Green is often credited with opening this field by applying the
   mathematical conjoint measurement theory to the solution of marketing and product
   development problems and considering the practical measurement issues (See: Paul E. Green
   and Vithala R. Rao: “Conjoint measurement for quantifying judgmental data”, Journal of
   Marketing Research, 8, 355–363.).
50 As classified by Vithala R. Rao in “Applied Conjoint Analysis”, Springer, 2014, p 5.




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     alternatives explicit and, ultimately, surveying consumers to estimate
     statistically the partial contribution of such choices. Therefore, the choice-
     based method is particularly applicable.

     Briefly stated, CBCA uses choice experiments or surveys in which respondents
     make a choice among a set of alternatives, each of which is described by a
     set of attributes. The data collected, across all choice sets and all individuals,
     are then analyzed using the appropriate statistical tools 51 to obtain a
     mathematical relationship among the attribute levels to probabilities of
     choice.52 A CBCA methodology provides several advantages, including the
     ability to be designed to simulate choices made in a very similar way to the
     actual marketplace choices that consumers face, the ability to assess
     competitive effects on choice, and price sensitivity to price differences,
     among others.53

     I understand from Counsel that a separate survey expert will be submitting a
     report in this case. 54 My understanding is that the survey expert report
     discusses, among other topics, the process for a choice-based conjoint
     survey utilizing the aforementioned methodology and that the CBCA survey
     will provide the empirical data required to measure the “price premium”
     distinctly attributable to the Challenged Claims. Such premium will be
     capable of being expressed in terms of a percentage of the price. Further, I
     understand that the determination of the appropriate survey sample size will
     also be discussed and designed so as to make the survey results reliable and




51 For example, multinomial logit or probit models, depending on the situation.
52 See: V.R. Rao (2014), Chapter 4, pp 127 et seq.
53 V.R. Rao (2014), p 128.
54 In referencing my understanding, I am not opining on the methodology, structure, or

    implementation of the CBCA survey, nor do I opine on whether or not the conjoint survey is
    properly designed to achieve its stated goals.




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      to provide a statistically accurate measure of the price premium of interest,
      as well as to support the reliability of its application to the Class as a whole.

      On that basis, I anticipate the results of the CBCA survey will provide the
      necessary input for the calculation of the Breach of Contract damages
      discussed, namely applying the appropriate price premium percentage in
      the calculations.

B. Breach of Contract Damages

      The Purchaser Class (“PC”) bought Google Home devices (“GHD”) at a
      market price reflecting in part the promises Google made in its Privacy Policy
      and Terms of Service that PC members’ privacy would be protected. In
      actual use, the devices failed to do so as promised.

      At the outset of the transaction, PC members had an amount of money
      equivalent to the average retail price of the specific device, full privacy, and
      did not have assistant services. The PC members subsequently purchased
      GHDs trading their money and information (as set forth in the Terms of Service
      and Privacy Policy) in exchange for services. Conceptually, the trade-off was
      accepted to the extent the privacy related assurances in Google’s privacy
      policy and the terms of use were accurate. Thus, as a result of the purchase,
      PC members had paid to acquire the device, and suffered an unexpected
      loss of private data that was more than what was disclosed.

      In an economic sense, PC members invested a certain amount of money on
      each unit contingent on the (privacy) promise.55 The breach of this promise
      decreases the value of the purchase since the loss of control of the private



55   At least in part. Discerning the specific empirical contributory value of the privacy attributes
     will be subject to the Conjoint Survey discussed in the prior section.




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      information is irreversible and the device can no longer be relied upon in
      protecting privacy.

      An accurate measure of the decrease in value would be what is known as
      Price Premium Damages — wherein consumers would receive the difference
      between the market value (purchase price) of the products (with the
      Challenged Claims or attributes) and the market value of the products
      (without the Challenged Claims or attributes), at the time and point of sale.

      It is my understanding that the Price Premium calculation concerns only
      devices manufactured by Google and sold to consumers during the Class
      Period. I understand official volume and value data for sales of the various
      models of GHDs in the U.S. to date have not been produced to Plaintiffs so
      far. Only partial data on the number of devices sold along with the historical
      average prices consumer actually paid can be obtained from public sources,
      for instance from the NielsenIQ service, or other commercially available third-
      party databases that also aggregate retail scan data.56 Precise figures as to
      the volumes sold and sales prices during the Class period, available via
      Google’s business records, are necessary to calculate the exact total
      amount of Price Premium paid by the Purchaser Class.

      With the price difference due to the Challenged Claims or attributes
      determined on a percentage basis, the calculation of class-wide damages
      for any Product will be:

                     Damages = {percentage Price Premium} x {GHD $ Sales}




56   While such services may have gathered scan data from Walmart, Target, and BestBuy, I

                                 GOOG-ASST-00017855; GOOG-ASST-00017861).




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       I understand that the forthcoming Conjoint Survey will be able to measure
       the price premium attributable to the Challenged Claims or attributes. This
       will enable the calculation, using the formula above, to be performed on
       a class-wide basis, nationwide or across different geographies, and for any
       defined time period, provided the corresponding sales data is available
       from Google or elsewhere.

       Although GHD product offerings vary in price (e.g., the retail price may
       decline as new versions/models are announced, and some devices may
       have been sold through special offers, promotions, or bundles), 57 the
       damages calculation utilizes a percentage of dollar sales and, as a result,
       does not require individualized adjustments to reflect the true extent of the
       economic damage.

       In particular, due to the nature and attributes of the CBCA Survey
       methodology employed, the damages calculation utilizes inputs that
       distinguish the generalized role of privacy expectations. Thus, individual
       variations in expectations, or individual reasons for purchase, are irrelevant to
       the calculation method proffered.

       As far as variations in the use of the devices are concerned, as analyzed, the
       damaging activations occur without the intended input of the user, and the
       calculations proposed are not affected by differences in the intended use.




57   At their respective launches, GHD models range in price from $49 (Home mini, launched in
     October 2017) to $399 (Home max, launched in December 2017), including the original device
     at $129 (Google Home announced in May 2016). Sources:
     https://www.theverge.com/2017/10/4/16407344/google-home-mini-announced-price-release-
     date-smart-speaker; https://www.theverge.com/2017/10/4/16405218/new-google-home-mini-
     max-speakers-photos-video-hands-on; and https://techcrunch.com/2016/10/04/say-hello-to-
     google-home/, respectively.




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C. Statutory Damages

    I have been advised by Counsel for Plaintiffs that several federal and state
    statutes asserted by Plaintiffs provide for statutory damages. Damages
    associated with each statute can be calculated as follows:

                 Federal Wiretap Act

    I have been advised that the Federal Wiretap Act provides for statutory
    damages of $100 per day or $10,000, whichever is greater, based on
    unlawful interception. It is my understanding that only members of the
    Privacy Subclass would be seeking these statutory damages. Thus, the
    calculation of class-wide damages for the Privacy Subclass will be:

                               Damages = $100 x {days of violations}
                                                       Or
                                                    $10,000

    Counsel further advised that the Federal Wiretap Act provides for statutory
    damages for a separate violation based on the use and/or disclosure of the
    intercepted communication in the same amount, i.e., $100 per day or
    $10,000, whichever is greater. I was advised that both, the Use Subclass, and
    the Disclosure Subclass would be seeking these statutory damages. Thus, the
    calculation of class-wide damages for the Use and Disclosure Subclass will
    be:

                               Damages = $100 x {days of violations}
                                                       Or
                                                    $10,000




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                 Stored Communications Act

    I have been advised that the Stored Communications Act provides for
    statutory damages of no less than $1,000 per violation. Further, I understand
    that only the Disclosure Subclass would be seeking these damages. Thus, the
    calculation of class-wide damages for the Disclosure Subclass will be:

                           Damages = $1,000 x {number of violations}

                 California Invasion of Privacy Act

    I have been advised that the California Invasion of Privacy Act provides for
    statutory damages of $5,000 for each violation or three times the actual
    damages. I further understand that only the Privacy Subclass would be
    seeking these damages. Thus, the calculation of class-wide damages for the
    Privacy Subclass will be:

                           Damages = $5,000 x {number of violations}

D. Nominal Damages

        I was asked to assume that the Purchaser Class and each of the three
        Subclasses may seek nominal damages of certain set amounts for each of
        the alleged violations in the case. Thus, for example, the calculation of
        class-wide damages will be:

                     Damages = {$ nominal amount} x {number of violations}

E. Defendants’ Profits

    Defendants’ business model involves providing services to users in exchange
    for data on their characteristics they can monetize in various ways. This
    includes using data collected from users to develop products and services,
    which attract more users and thus result in more data being collected, as


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      well as selling advertisers access to users that utilize Google services (e.g.,
      Search, Gmail, YouTube).

      One distinguishing characteristic of private or personal information in the
      context of Google’s business model is that of scale or aggregation. Personal
      data although valuable individually, is especially valuable to Google in
      aggregate, where it can be used to develop software, build/maintain
      products, or offer targeted ads to a larger population. Google’s business
      benefits from this sense of scale as the alleged activity provided Google with
      Speech Data that it would not have otherwise obtained and, thus, could not
      have monetized.

      As a result, from an economic perspective, it is appropriate to measure
      Defendants’ profits arising out of their practice of collecting and using
      Speech Data on an aggregate basis, rather than as the sum of individual
      harms to each individual Class member.

                 Advertising Revenue

      Moreover, as opposed to other sources of audio recordings for which Google
      has to acquire in the market,




      Internally,
                                                              58




58   See, e.g., GOOG-ASST-03045635 and 3045642.




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     As an approximation to the level of profit expectations consistent with the
     above investments, I calculated the most recent margin for Alphabet Inc.,
     which generated Net Income (after tax) equivalent to                                 of total costs
     and expenses of the holding company in 2021. 64




     In principle, a portion of these profits is attributable to the use of the audio
     recordings at issue in this case. Sufficient data has not been made available
     to Plaintiffs, so as to accurately measure the proportion of those audio
     recordings in the total corpus of the Assistant data logs, nor to quantify the




63 GOOG-ASST-03045667.
64 See Alphabet 2022 10K, p 50. Net Income of $76.03 billion and Total Costs and Expenses of
   $176.24 billion.
65                                                                               .




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      amount of advertising revenue attributable.66 Assuming, arguendo, that such
      proportion may be found to range between                                      the following table
      shows the corresponding profit amount attributable to the Class, applying
      the calculation illustrated in the preceding paragraph.




      As the table shows, this preliminary calculation yields a class damage
      amount in the form of Defendants’ Profits in the range between



                  Market Value of Speech Data

      Google directly benefited from capturing private information in audio
      recordings. Documents available to date,




66    I understand that the data relevant to this analysis is the subject of a dispute among the
     parties that is currently being litigated.




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                                                                                       . 67 By capturing
      additional Speech Data from Plaintiffs and Class members without consent
      for free, Google avoided the cost of this Speech Data and thus, directly
      enhanced its profits.

      The market value of the Speech Data acquired from Plaintiffs and Class
      members, and resulting benefit to Google, can be ascertained from data
      that reflects the retail price of Speech Data sold by commercial entities. In
      fact, based on testimony offered by Google,
                                                                               .68 Based on Counsel’s
      representation,
                                                                               Alternatively, the retail
      price of Speech Data can be ascertained form available services,
                                                                                                        if not
      available, from comparable third-party sources which sell or utilize such
      Speech Data.

      To assess this value, it is necessary to derive suitable estimates of the quantity
      of Speech Data gathered from False Accepts of the Assistant, which
      represents audio not intended for Google, as well as estimates of the
      corresponding market price.69



                                .70 From documents so far available through discovery,




67 GOOG-ASST-00032096.
68 Deposition Testimony of Dr. Francoise Beaufays (4/22/2022) at p 266, Li. 15-22.
69 In terms of recording time, the only information available presently is


70   E.g., Beaufays’ deposition at p. 107 li. 24, to p. 108 li. 18.




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                                                                          .71 At the present stage of
      discovery, the documentation produced by Google to Plaintiffs




      To estimate the market price per utterance that can represent Google’s
      profit from avoiding the cost of logged audio from False Accepts, which is
      captured freely from Class members, I used




      These two ranges, combined in the following formulation, provide a
      preliminary estimate of the cost avoided in 2019. As such this amount of profit
      is not duplicative of Defendants’ Profits previously calculated.

      The calculation formulation is as follows:

           {Avoided Cost} = {Utterances logged-2019} x {% False Accepts} x {Unit Cost}


      The following is a sensitivity table


                                                                                    .




71   GOOG-ASST-00023588.
72

                 e.g., GOOG-ASST-02990630-1; 00255944-6; 00029845; and 00235040.
73

                                                                                               E.g., GOOG-
     ASST-00026789.

74                                         (GOOG-ASST-0023604).




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     The tabulated results indicate, e.g.,


                                                These estimates will be made more precise
     and encompass the full Damages Period as the corresponding document
     production from Google is available for consideration.

6. SUMMARY AND CONCLUSIONS

As analyzed conceptually and practically in the preceding sections, the
misappropriated private data is a measurable economic good. The economic
damage is endogenous to how Google uses Class members’ audio recordings
to generate targeting outcomes and additional revenue streams. It does not
simply reflect what could be deemed consumers’ reticence to share
(measurable empirically), but how the (aggregate) data thus captured is used.




75                                                                                              (GOOG-
     ASST-00023588.




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These economic damages are reflected in the benefit the defendant receives
from not fully paying the class members for the additional, privacy-infringing
voice data captured and undermining the real value of the Google Home
devices to the Class members.

A. Breach of Contract Damages

      Breach of Contract damages are the appropriate measure of damages for
      the situation at hand. The specific measure is that of benefit of the bargain
      Damages, which arise as the consumer invests money in purchasing the
      Google Home Devices at a price incorporating the Google Assistant
      provider’s privacy-preserving promise. Breach of this contract usually dilutes
      or even destroys the value of the investment and makes Class members
      worse off than if they had not made the purchase. 76 The measure of
      damages that places Class members in the economic position that they
      would have been in if they had never purchased the Google Home devices
      is a Price Premium.

      The applicable Price Premium can be determined from a Choice Based
      Conjoint Survey, which will identify the additional price that consumers paid
      based on expectations created by Google’s claims of certain product
      attributes, differentiating the other factors involved in the transaction.

      Conjoint Analysis of survey data is a reliable and well-accepted economic
      method of measuring the monetary premium consumers are willing to pay
      based on products’ label or other perceived attributes.




76   Cooter, Robert and Ulen, Thomas, "Law and Economics, 6th edition" (2016). Berkeley Law
     Books. Book 2, p 311 (http://scholarship.law.berkeley.edu/books/2).




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B. Statutory Damages

    I understand from Counsel that a number of state and federal statutes
    provide for statutory damages which may be applicable to all affected
    Plaintiffs and Class members uniformly.

    Specifically, I understand that the Federal Wiretap Act (“FWA”) may be
    applicable based on the alleged unlawful interception and that members of
    the Privacy Subclass may seek such statutory damages. Further, I understand
    the FWA provides for distinct statutory damages for the use and/or disclosure
    of the intercepted communications. I am advised by Counsel that the Use
    Subclass and the Disclosure Subclass would be seeking these statutory
    damages.

    Moreover, I understand the Disclosure Class would be seeking statutory
    damages as provided for by the Stored Communications Act (“SCA”). Finally,
    the Privacy Subclass would be seeking statutory damages provided for by
    the California Invasion of Privacy Act (“CIPA”).

C. Nominal Damages

    I was asked to assume that the Purchaser Class and each of the three
    Subclasses may seek nominal damages of certain set amounts for each of
    the alleged violations in the case. The necessary calculation on a class-wide
    basis is straightforward once the amount is set.

D. Defendants’ Profits

    For Defendants, profits are both the motivation for releasing products that do
    not perform as promised and a measure of the ultimate benefit derived from
    gathering data resulting from the False Accepts.




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    As discussed in the corresponding section, the Class damages amount in the
    form of Defendants’ Profits are currently estimated as being in the range
    between

    By avoiding the market cost of capturing audio recordings, Google may
    have additionally profited in an amount which, presently, can only be
    estimated in a broad range,                                                       and this only for
    the year 2019.

The various types of damages and the applicable Classes and Subclasses to
which they apply are summarized in the following table.




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The foregoing analysis is reliant on the current state of discovery in the case at
hand. In particular, updated financial information may be forthcoming before
trial, and I anticipate updating my calculation and opinions. In this context, I
proffer these opinions with a reasonable degree of professional certainty. In
addition to my testimony at trial, I expect to rely on exhibits prepared to depict
and explain the information contained in this analysis or as a rebuttal to
testimony by other witnesses. Any such exhibits will be prepared and identified in
advance of trial.




Fernando Torres
Chief Economist,
IPmetrics LLC




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                                           APPENDIX A
                     Qualifications of Fernando Torres, MSc
Fernando Torres is an intellectual property economist with 30 years of work
experience in economics, financial analysis, and business management in the
U.S. and Mexico. He is a member and Chief Economist at IPmetrics LLC, an IP
consulting firm specializing in the strategic analysis, valuation, and expert witness
assessment of the full spectrum of intangible assets.

Since 2005, Mr. Torres has applied his economics, finance, and business
experience, as well as skills in quantitative techniques, to the analysis and
valuation of intangible assets, including valuation for transactional and litigation
purposes (bankruptcy and infringement cases). Prior to joining IPmetrics in 2010,
Mr. Torres served as Senior Economist at CONSOR® Intellectual Asset
Management.

During recent years, Mr. Torres has undertaken projects involving the valuation
and/or the assessment of infringement damages regarding copyrights,
trademarks, patents, trade secrets, rights of publicity, and other intellectual
assets in such industries as commercial agriculture, auto parts, apparel and
footwear, retail, pharmaceuticals, entertainment, telecommunications, and
non-profit organizations, among others.

Mr. Torres regularly presents on topics related to intangible asset valuation in a
variety of venues, many of which qualify for CLE credit. During the past few
years, Mr. Torres has been an instructor for the course “Valuing Intangible Assets
for Litigation,” which is part of the requirements of the Certified Forensic
Financial Analyst designation issued by the National Association of Certified
Valuation Analysts (“NACVA”).




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Mr. Torres has been particularly active in the area of the copyright and rights of
publicity infringement issues, encompassing from the unlicensed use of celebrity
images to a class action lawsuit against the major social networking site.

Mr. Torres is also the editor and author of the online Patent Value Guide and his
perspectives on the value of patents and other intellectual property assets have
been cited in the media, including Managing Intellectual Property, The New
York Times, Forbes.com, Business News Network, Business Valuation Resources,
and The Democrat & Chronicle.

Mr. Torres is a member of the National Association of Forensic Economics, and of
the Western Economics Association International, among others. His career has
spanned from academia, to branches of government, to private industry and
consulting.

He first earned a B.A. in Economics from the Metropolitan University in Mexico
City (1980) and went on to earn a Graduate Diploma in Economics from the
University of East Anglia (U. K., 1981), and a Master of Science Degree
specializing in Econometrics from the University of London, England (1982).

Prior to specializing in IP, his career centered on financial analysis and
management in the private sector, having been both a brand development
consultant and an entrepreneur in several business ventures, mainly in computer
services and the health care industry. During the 1980s, Mr. Torres was Professor
of Economics at the Metropolitan University in Mexico City, teaching Economic
Policy, Economic Growth, Microeconomics, and Quantitative Methods. Mr.
Torres was later a financial consultant (NASD Series 7, 63, 65) for half a dozen
years with AXA Advisors LLC.




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PROFESSIONAL ASSOCIATIONS

▪   National Association of Forensic Economics
▪   American Economic Association
▪   International Trademark Association
▪   Western Economics Association International

SPEECHES AND PRESENTATIONS (past 10 years)

▪   “Topics on Technology & Innovation” Session Chair, Western Economics Association
    International 82nd Annual Conference – San Diego, CA; June 2017
▪   “Discussion: Benchmarking Against Industry Data Over Time,” Western Conference
    of the National Association of Forensic Economics; San Diego, CA; June 2017
▪   “Bitcoin: What it is and what it can be.” The 1230 Club, La Jolla, CA, June 29, 2016
▪   “Valuing Intangibles: From Search to Valuation” CPE webinar, Business Valuation
    Resources Inc., April 2016.
▪   “What is a Brand Worth?” MCLE webinar, The State Bar of California, Trademark
    Interest Group, March 2015.
▪   “Intellectual Property Valuation Techniques,” CLE presentation to Pillsbury Winthrop
    Shaw Pittman LLP, San Diego, CA, August 2014
▪   “10 Common Mistakes in IP Valuation/Damages,” CLE presentation to Jeffer
    Mangels Butler & Mitchell LLP, Los Angeles, CA, July 2014.
▪   “Intellectual Property Valuation Techniques,” MCLE presentation, San Diego, CA,
    April 2013
▪   “Intellectual Property Valuation and Monetization,” a seminar for the Special
    American Business Internship Training (SABIT) Intellectual Property Rights program,
    U.S. Department of Commerce. March 2013.
▪   “Recent Developments in Intellectual Property Economic Damages,” Presentation
    at the Annual Conference of the National Association of Forensic Economics. June
    2011.
PUBLICATIONS (Past 10 years)

▪   “Options Approach to Licensing Royalties” in: LinkedIn.com, September 3,
    2019.

▪   “IP Value in Bankruptcy” in LinkedIn.com, August 27, 2019.

▪   “Why only some patents are valuable” in: IPmetrics Blog, (May 13, 2015).

▪   “General Principle I – Lack of Intrinsic Value” in: PatentValueGuide.com,
    (February 11, 2013).

▪   “General Principle II – Patent Use is Key to Value” in: PatentValueGuide.com,
    (February 8, 2013).

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▪   “Conceptual Patent Value Framework” in: PatentValueGuide.com, (January
    31, 2013).

▪   “The Impact of Reorganization on Trademark Values,” in: IP Management
    and Valuation Reporter, March 2012, BVR, Portland, OR.

▪   “Fundamental Principles of Patent Value,” in: IP Management and Valuation
    Reporter, January 2012, BVR, Portland, OR.




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                                           APPENDIX C
                     DOCUMENTS AND SOURCES RELIED UPON
In the course of preparing this Declaration, I relied upon the following list of principal
documents and sources, as well as the documents and sources cited in the body of the
Declaration, including the footnote references.


 1)   Case Documents
       a. Fourth Amended Consolidated Class Action Complaint, in case 5:19-cv-04286-
          BLF, before the USDC for the Northern District of California (“FAC”).
       b. Stipulated Protective Order in Case No. 5;19-cv-04286-BLF
       c. Deposition of Francoise Beaufays taken April 26, 2022
 2)   Documents Produced by Defendants
       a. GOOG-ASST- Bates-stamp documents:
          ____________________ ________________________ _________________________


GOOG-ASST-00001436                    GOOG-ASST-03045635                     GOOG-ASST-00251880
GOOG-ASST-00008511                    GOOG-ASST-03045642                     GOOG-ASST-00255310
GOOG-ASST-00012313                    GOOG-ASST-00002125                     GOOG-ASST-00231206
GOOG-ASST-00240781-                   GOOG-ASST-00002218                     GOOG-ASST-00026888
240824                                GOOG-ASST-00235006                     GOOG-ASST-00023584
GOOG-ASST-00242571-                   GOOG-ASST-03005475                     GOOG-ASST-00026888
242611                                GOOG-ASST-00226604                     GOOG-ASST-00026929
GOOG-ASST-00241229-                   GOOG-ASST-00017854-                    GOOG-ASST-00032304
241304                                GOOG-ASST-00224203-                    GOOG-ASST-00032350
GOOG-ASST-00243637-                   GOOG-ASST-00226349-                    GOOG-ASST-00032356
243880                                GOOG-ASST-00241815-                    GOOG-ASST-00032360
GOOG-ASST-00240858-                   GOOG-ASST-00002700                     GOOG-ASST-00032690
240915                                GOOG-ASST-00240781                     GOOG-ASST-00227772
GOOG-ASST-00244500-                   GOOG-ASST-00240858                     GOOG-ASST-00002296
244507                                GOOG-ASST-00241229                     GOOG-ASST-00002312
GOOG-ASST-00242719-                   GOOG-ASST-00241907                     GOOG-ASST-00002419
242969                                GOOG-ASST-00242719                     GOOG-ASST-00002443
GOOG-ASST-00241907-                   GOOG-ASST-00243637                     GOOG-ASST-00022753
242155                                GOOG-ASST-03045589                     GOOG-ASST-00027319
GOOG-ASST-00017855                    GOOG-ASST-03045605                     GOOG-ASST-00029845
GOOG-ASST-00017861                    GOOG-ASST-03045622                     GOOG-ASST-00032089
GOOG-ASST-00032096                    GOOG-ASST-03045632                     GOOG-ASST-00255944
GOOG-ASST-00032102                    GOOG-ASST-03045664                     GOOG-ASST-02990630
GOOG-ASST-32104-                      GOOG-ASST-00250274
32110                                 GOOG-ASST-00250923


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Invoices:                      Vendor Contracts               GOOG-ASST-00252569
GOOG-ASST-00250923             GOOG-ASST-00026694             GOOG-ASST-00252599
GOOG-ASST-00251031             GOOG-ASST-00026788             GOOG-ASST-00252629
GOOG-ASST-00251041             GOOG-ASST-00026929             GOOG-ASST-00252673
GOOG-ASST-00251236             GOOG-ASST-00026964             GOOG-ASST-00252710
GOOG-ASST-00251238             GOOG-ASST-00027000             GOOG-ASST-00253228
GOOG-ASST-00251268             GOOG-ASST-00027037             GOOG-ASST-00253277
GOOG-ASST-00251618             GOOG-ASST-00032304             GOOG-ASST-00253327
GOOG-ASST-00251640             GOOG-ASST-00032350             GOOG-ASST-00254275
GOOG-ASST-00251916             GOOG-ASST-00032356             GOOG-ASST-00254495
GOOG-ASST-00252018             GOOG-ASST-00032360             GOOG-ASST-00254656
GOOG-ASST-00253807             GOOG-ASST-00032510             GOOG-ASST-00254728
GOOG-ASST-00253854             GOOG-ASST-00032552             GOOG-ASST-00254787
GOOG-ASST-00253862             GOOG-ASST-00032687
GOOG-ASST-00253876             GOOG-ASST-00032690             Spreadsheet files
GOOG-ASST-00253994             GOOG-ASST-00032741             GOOG-ASST-
GOOG-ASST-00254305             GOOG-ASST-00032745             00001875.XLSX
GOOG-ASST-00254322             GOOG-ASST-00032920             GOOG-ASST-
GOOG-ASST-00254775             GOOG-ASST-00251966             03045688.XLSX
GOOG-ASST-00254844             GOOG-ASST-00251973             GOOG-ASST-
                               GOOG-ASST-00252071             03045689.XLSX
                               GOOG-ASST-00252108
 ____________________ ________________________ _________________________

 3)   Other documents or sources
       a. A, Acquisti, L.K. John, and G. Lowenstein. “What is Privacy Worth?” Journal of
          Legal Studies 42, no. 2 (June 2013): 249-274.
       b. Acquisti, A. et al, “The Economics of Privacy,” Journal of Economic Literature,
          2016, 54(2), 442–492 (http://dx.doi.org/10.1257/jel.54.2.442).
       c. Alphabet Inc.’s SEC Form 10-K Report for the fiscal year ended December 31,
          2021 (“Alphabet 2022 10K”).
       d. Alphabet Inc.’s SEC Form 10-K Report for the fiscal year ended December 31,
          2020 (“Alphabet 2021 10K”).
       e. Cooter, Robert and Ulen, Thomas, "Law and Economics, 6th edition" (2016).
          Berkeley Law Books. Book 2, p 311
          (http://scholarship.law.berkeley.edu/books/2).
       f. Jehle, G.A. and Reny, P.J., Advanced Microeconomic Theory, 3rd Ed., FT
          Prentice Hall, 2011, pp 4-13.
       g. Paul E. Green and Vithala R. Rao: “Conjoint measurement for quantifying
          judgmental data,” Journal of Marketing Research, 8, 355–363.
       h. Posner, R. A., 1981. “The Economics of Privacy.” American Economic Review,
          71(2), 405–409.
       i. Posner, Richard A., "The Right of Privacy" (1978). Georgia Law Review, 12(3),
          393–422.
          https://digitalcommons.law.uga.edu/lectures_pre_arch_lectures_sibley/22.


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       j. Tesary Lin, “Valuing Intrinsic and Instrumental Preferences for Privacy.” Boston
          University Questrom School of Business SSRN-id3406412 (March 5, 2021).
       k. E. Ricart-Costa, J., Subirana, B., Valor-Sabatier, J. (2004). Proprietary Content
          Providers: Aggregators (Portals). In: Sources of Information Value. Palgrave
          Macmillan, London. https://doi.org/10.1057/9780230512948_7
       l. Vithala R. Rao “Applied Conjoint Analysis,” Springer, 2014

       m. Online documents
                   i. https://assistant.google.com/.
                  ii. https://cloud.google.com/speech-to-text.
                  iii. adsonair.withgoogle.com/events/google-marketing-live-
                      2022/watch?talk=get-the-playbook-to-privacy-success
                 iv. https://techcrunch.com/2016/10/04/say-hello-to-google-home/,
                     respectively.
                  v. https://voice.google.com/about.
                 vi. https://www.theverge.com/2017/10/4/16405218/new-google-home-
                     mini-max-speakers-photos-video-hands-on
                 vii. https://www.theverge.com/2017/10/4/16407344/google-home-mini-
                      announced-price-release-date-smart-speaker
                viii. Search Engine: https://scholar.google.com/




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                                            APPENDIX D
                                        COMPENSATION
IPMETRICS provides consulting services in connection with litigation support projects on
a time and materials basis, and bills clients based on the number of hours worked. We
have agreed to provide all work relating to this engagement according to the following
rate schedule:
    •    Document Review, Research, Analysis & Report Writing                       $450 / hour
    •    Deposition and Trial Testimony/Preparation                                 $450 / hour
    •    Non-working Travel                                                         $175 / hour
    •    Administrative Support                                                     $125 / hour
IPmetrics’ compensation is not dependent, in any way, upon the conclusions reached
during the performance of the analysis.




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                    Exhibit 58

 DOCUMENT REDACTED IN ITS
   ENTIRETY SUBJECT TO
     MOTION TO SEAL
